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UNITED STATES BANKRUPTCY COURT
WESTERN I)IS'I`RICT OF TEXAS

SAN ANTONIO DIVISION

IN RE: §

§
PRIMERA ENERGY, LLC § CASE NO. 15-51396
21022 Gathering Oak #2101 §
San Antonio, Texas 78260 §

§
DEBTOR. § CHAPTER 11

DISCLOSURE STATEMENT

WITH RESPECT TO CHAPTER ll TRUSTEE’S PROPOSED
CHAPTER 11 PLAN OF REORGANIZATION

Jason R. Searcy, Chapter llTrustee (the “Tmstee”) for Primera Energy, LLC (the
“Debtor”), submits this DISCLOSURE STATEMENT (the “Disclosure Statement”) in connection
With the solicitation of acceptances of the Trustee’s proposed PLAN OF REORGANIZATION that is
attached hereto as Exhibit “A” (the “Plan”).

1.
NOTICE TO HOLDERS OF CLAIMS AND EQUITY INTERESTS
The purpose of this Diselosure Statement is to provide you, as the holder of a claim against

the Debtor, or as a shareholder of, partner in, or owner of an equity interest in the Debtor, With
information to enable you to make a reasonably informed decision on the Plan before exercising your

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right to accept or reject the Plan.

You should read all of this Disclosure Statement before voting on the Plan. You are urged
to consult with your own financial and other advisors in deciding whether to approve or reject the
Plan. No solicitation of votes may be made except pursuant to this Disclosure Statement, and no
person has been authorized to use any information concerning the Debtor or their businesses other
than the information contained in this Disclosure Statement.

Under Rule 3018 of the Federal Rules of Banl<ruptcy Procedure (the “Bankruptcy Rules”),
the record date for determining which holders of claims and equity interests may vote on the Plan
is the date on which the Banl<ruptcy Court enters its order approving this Disclosure Statement (the
“Voting Record Date”). EFFECTIVENESS OF THE PLAN UNDER SECTION llZQ(a)(”/') OF
THE BANKRUPTCY REFORM ACT OF 1978, AS AMENDED (THE “BANKRUPTCY CODE”),
REQUIRES THE APPROVAL OF THE PLAN BY THE HOLDERS OF AT LEAST TWO-
THIRDS IN AMOUNT AND MORE THAN HALF IN NUMBER OF ALLOWED CLAIMS
VOTING ON THE PLAN FOR EACH OF THE IMPAIRED CLASSESJ OR A FINDING BY THE
BANKRUPTCY COURT THAT THE PLAN IS FAIR AND EQUITABLE AS TO THAT CLASS.

After carefully reviewing this Disclosure Statement, please indicate your acceptance or
rejection of the Plan by voting in favor of or against the Plan on the enclosed ballot; then return the
ballot to the Trustee, at the address set forth on the ballot, by 5:00 n.m.. central standard time. on

 

or before . You may also return your ballot by courier or faX by following
the instructions on the ballot ANY BALLOTS RECEIVED BY THE TRUS'I`EE AFTER 5:00
P.M., CENTRAL TIME, ON , WILL NOT BE COUN'I`ED, UNLESS

THIS DATE IS EXTENDED BY THE BANKRUPTCY COURT.

The Banl<ruptcy Court has entered an order fixing . central standard
tt£, in the Courtrooln of the United States Banl<ruptcy Court, San Antonio, Texas,, as the date, time
and place for a hearing on confirmation of the Plan (the “Confirrnation Hearing”), and fixingm

bv 5:00 p.m., central standard time. as the time by which all objections to confirmation
of the Plan must be filed with the Bankruptcy Court and served on Trustee.

Unless otherwise provided in the Plan, the closing of the transactions described in the Plan
Will occur on the Effective Date as defined in the Plan, unless the effectiveness of the Contirrnation
Order has been stayed or vacated by a court of appropriate jurisdiction, in which case this Effective
Date shall be the later of the 30th business day after the entry of the Confirmation Order or such date
thereafter When any stay of the effectiveness of the Confirmation Order has expired or otherwise
terminated (the “Effective Date” of the Plan).

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§ About this Disclosure Staternent:

0 The statements contained in this Disclosure Statement are made as of the date that
the Banl<ruptcy Court enters an order approving this Disclosure Statement, unless
another time is specified in this Disclosure Statement. Neither the delivery of this
Disclosure Statement nor any action taken in connection with the Plan implies that
the information contained in this Disclosure Staternent is correct as of any time after
that date.

0 Unless the context requires otherwise: (l ) the gender (or lack of gender) of all words
used in this Disclosure Statement includes the masculine, feminine and neuter; (2)
references to articles and sections (other than in connection with the Bankruptcy
Code, the Banl<ruptcy RulesJ another specified law or regulation or another specified
document) refer to the articles and sections of this Disclosure Statement; and (3)
“including” means “including, without limitation”.

0 Many capitalized words used in this Disclosure Statement have been defined in the
context of the provisions in which they first or most prominently appear within this
Disclosure Statement. An index to those defined terms is included for your
convenience at the front of this Disclosure Statement immediately after the table of
contents. Any other capitalized terms used in this Disclosure Staternent are intended
to have the meanings ascribed to them in the Plan.

0 You may not rely on this Disclosure Statement for any purpose other than to
determine how to vote on the Plan. Nothing contained in this Disclosure Statement
constitutes or will be deemed to be advice on the tax or other legal effects of the Plan
on holders of claims or interests

0 Certain of the information contained in this Disclosure Statement is forward-looking
This Disclosure Statement contains estimates and assumptions that may prove not to
have been accurate and financial projections that may be materially different from
actual future experiences

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OVERVIEW OF THE PLAN

The Plan provides for the orderly liquidation ofthe assets of the Debtor and the payment of
claims against the Debtor to the extent funds are available to do so in the manner and priority set out.

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This overview is qualified by reference to the Plan, a copy of which is attached as Exhibit “A”, and
by the additional information included in this Disclosure Staternent,

A. Debt and Equity

The 'frustee believes that the Plan provides for (i) the treatment of all classes of claims that
is in the best interests of creditors of the Debtor’s estate and is fair and equitable to those creditors
and (2) the fair and equitable treatment of its equity holders The Trustee believes that the value of
the Debtor’s assets and its enterprise value are less than gross amount of the claims likely to be
allowed against it. Accordingly, the Trustee does not believe that the equity holders will receive any
distribution or value under the Plan.

B. Classification and Treatment Summary

Administrative expenses are not classified but are required to be paid by the Debtor.
These expenses are expected to be approximately $400,000.

The claim estimates in the following table are based on proofs of claim filed and those
claims have not been reviewed for validity or accuracy. All filed claims, whether ultimately
allowed or not, are included for estimation purposes but the right to object to any claim or lien is

preserved

The following is a summary of the classification of claims and interests, and their
treatment under the Plan.

 

CLASSIFICATION TREATMENT

 

CLASS 1
Priority Claims Untmpaired
Total Estimated Amount: $78,413
Will receive payment in full on or before the
Effective Date

Estimatea’ Recovery.' 100%

 

CLASS 2
Aa' Valorem Tax Claims Um'mpatreci
Total Estimated Arnount: $98,580
The Class 2 Claims of the various taxing
entities to whom ad valorem taxes are owed
by Debtor shall retain their respective liens
against Debtor’s Property until satisfaction of
their Allowed Secured Clairn or Claims.
Estim_ated Recovery.' lOU%

 

 

 

 

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CLASS 3
Allowed Secured Claims of Holders of Valid
Mineral Liens (McMulIen County, Texas)

Total Estimated Amount: $3,151,]03

Impaired
Collateral will or has been sold, valid liens to
attach to proceeds and divided pro-rata;

unpaid balance to be Class 6 Claims

Esttmated Recovery.' 20%

 

CLASS 4
Allowed Secured Claims of Valid Mineral
Liens (Gonzales County)

Total Estimated Amount: $3,077,430

Impaired
Collaterai will or has been sold, valid liens to
attach to proceeds and divided pro-rata;

unpaid balance to be Class 6 Claims

Esttmated Recovery.' 29%

 

CLASS 5
Assumed Executory Contracts

Total Estimated Amount: None.

(it is anticipated the purchasers of the
Debtor’s properties will pay any amounts
required to cure any assumed Joint Operating
Agreernents)

Unimpairea’
Will receive payment from third party
purchasers of Debtor’s properties assuming

the Joint Operating Agreements

Estimated Recovery: l()t)%

 

CLASS 6
General Unsecured Claims

Total Estimated Amount: $1,073 ,485
(includes anticipated deficiencies from
Mineral Lien Claims)

 

 

Impaired

Wiil be paid pro-rata from the proceeds of
Debtor’s properties, assets and recoveries
after payment in full to classes 1-5 and
unclassified claims.

Estimated Recovery: l%

 

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CLASS 7 impaired

Investor Claims Will receive nothing unless Classes 1-6 are
paid in full.

Total Estimated Amount: $18,108,312
Estz'mated Recovery: 0

 

CLASS 7 lmpatred

Interest Owners Will receive nothing

 

 

 

 

3.
BACKGROUND OF THE CASE
A. Background of Debtor

Debtor is a limited liability company organized under the laws of the State of Texas whose
primary assets consists of interests in oil and gas properties

Debtor filed a voluntary petition for relief under Chapter 1 1 of Title 11 of the United States
Code (the ‘°Banl<ruptcy Code”) on June 8, 2015 (the “Petition Date”). Jason R. Searcy was
appointed as Chapter ll Trustee in this case.

B. Factors Precipitating Commencement of the Case

Debtor’s business plan involved purchasing oil and gas leases on property and then
creating a joint venture to fund the development and operations of each well drilled or to be
drilled on those leases. Investors were solicited to pay a percentage of the cost of drilling and
completing each well and in return received a comparable interest in the respective joint venture.
The purchase price also include a substantial profit for Debtor for each well and investment over
and above the actual costs.

Debtor incurred substantial costs and excess expenses due to errors and problems that
arose in the drilling and completion of the Screaming Eagle #3 Well. These were incurred at the
same time as Debtor was attempting to obtain sufficient funds to drill the Buda #1 Well.
Debtor’s accounting failed to keep incurred and anticipated bills and costs current and the
resulting delays caused substantial cash flow issues

A number of investors became dissatisfied with the operations of Debtor and filed suit

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against the Debtor, Brian Alfaro, Alfaro Oil and Gas, lnc. and others asserting, among other
claims, fraud, misrepresentation, breach of securities laws and breach ofcontract. The State
Court judge presiding over that action ordered the appointment of a receiver over the assets of
the Debtor. As a result, the Debtor filed this proceeding

C. Proceedings in Case
i. Appointment of Trustee.

()n July 14, 2015, Jason R. Searcy accepted his appointment as Chapter 11 Trustee in this
proceeding

ii. Appointment oijj'icial Committee of Unsecured Creditors

On August 5, 2015, the United States Trustee appointed an Official Unsecured Creditors’
Cornrnittee consisting of the following members:

Unit Texas Drilling, L.L.C.
7130 South Lewis, Suite 1000
Tulsa, OK 74136

(918) 477"4537

(918) 496- 6302 Fax

Contact: Drew Harding

E mail: drew harding@unitco@.co

Bal<er Hughes Oilfield Operations, lnc.
2929 Allen Parkway, Suite 2100

Houston, TX 77019-2118

(713) 439-8771

(713) 439-8778 Fax

Contact: Christopher J. Ryan

E-rnail: christopher.ryan@bal<erhughes.com

Arl<LaTex Wireline Services, LLC
6913 Westport Ave.

Shreveport, LA 71129

(318) 688-9738

(318) 688~9844 Fax

Contact: Matt Bregman

E-mail: mbregman@awsenergyllc.com

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iii. Sale ofBuilding.

On the Filing Date the Debtor owned its office building located at 21022 Gathering Oak,
San Antonio, Texas. The property was subject to a first lien mortgage held by Karnes County
National Bank. Reata Real Estate Services was retained to locate a purchaser for the building
and a successful sale was closed which paid Karnes County National Bank in full, paid the ad
valorem taxes and other lien claims in full, and returned approximately $90,000 to the estate.

iv. Retention ofPLS

PLS, Inc. Was retained by the Trustee with Court approval to market the oil and gas
properties of the Debtor throughout the oil and gas industry. This has resulted in numerous
offers to purchase the property Trustee will, or has, filed a motion to approve one or more of
these sales '

v. Retention of Professionals

lt is anticipated that each professional retained will file applications for compensation with
the Bankruptcy Court to seek approval of reasonable fees and expenses

Trustee filed an Application seeking to retain Searcy & Searcy & Associates, P.C. to act as
bankruptcy counsel. An order approving the employment of the firm as counsel for Trustee was
entered on August 14, 2015. Searcy & Searcy, P.C. will file a fee application(s) with the
Bankruptcy Court for services rendered and expenses incurred

Trustee sought to retain Gollob, Morgan and Peddy, P.C. to act as accountants for the
Debtor’s estate. An order approving the employment of the firm as accountants was entered on
December 3, 2015. Gollob, Morgan and Peddy, P.C. will file a fee application(s) with the
Bankruptcy Court for additional services rendered and expenses incurred

Trustee sought to retain Reata Real Estate Services to act as realtor for the Debtor’s estate.
An order approving the employment of the firm as accountants was entered on September 4, 2015.
Reata Real Estate Services has been fully paid for their services

Trustee filed an Application to retain Traton Engineering, lnc. to act as contract operator for
the Debtor’s oil and gas properties An order approving this employment was entered September
4, 20} 5. Traton Engineering, Inc. is paid in the ordinary course of business and its payment for
services is current

Trustee sought to retain PLS, lnc. to act as marketing agent for the Debtor’s estate to locate
a purchaser for the Debtor’ s oil and gas properties An order approving the employment of the firm
was entered on November 24, 2015. PLS, lnc. will be paid a commission from any sale originated
by them after court approval.

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Trustee sought to retain Sloan, Bagley, Hatcher and Perry as special counsel to pursue certain
claims on behalf of the estate. These claims are:

l. Cause No. l\/l-14-0026-0CV-C; 343‘"d ludicial District Court, Mcl\/lullen County,
Texas; Primem Energy, LLC vs Tejas Tubular Products, lnc.

2. Cause No. 15-148; 216th Judicial District Court, Kendall County, Texas; Prz'mera
Energy, LLC vs Brennon D. Short

Orders approving the employment of the firm were entered on September 23, 2015. Sloan,
Bagley, Hatcher and Perry will be paid on a contingency fee basis with court approval

Although not now anticipated Trustee may seek to retain other professionals during its
bankruptcy case by making application to the Bankruptcy Court If any other professionals are
approved, they will also file fee applications with the Bankruptcy Court for allowance of fees and
expenses

vi. Plan and Disclosure Statement Matters.

The Trustee filed his Plan of Reorganization (the “Pian”) under Chapter 11 of the United
States Banl<ruptcy Code on January 5, 2016, and in connection therewith, the Trustee filed with the
Bankruptcy Court this Disclosure Statement with respect to the Plan of Reorganization under
Chapter 11 of the Bankruptcy Code. In the Plan, the Trustee seeks to liquidate the Debtor’s assets
and use the proceed to pay all or a portion of its obligations The Bankruptcy Court entered an order
approving this Disclosure Statement and setting a deadline by which acceptances and rejections and
objections to the Plan must be filed and served In that order, the Bankruptcy Court also scheduled

 

the Confirmation Hearing to consider the Plan for , at . M..
4.
THE PLAN
A. Introduction

A summary of the principal provisions of the PLAN OF REORGANIZATION and the treatment
of classes of claims and equity interests is set forth below. This summary is qualified by reference
to the Plan, a copy of which is attached as Exhibit “A”.

The Plan was conceived by the Trustee as a fair and equitable means for the sale ofDebtor’s
assets in order to provide for the distribution of property and funds to creditors holding valid claims
The Plan proposes to maximize recovery for the allowed claims against the estate. The assets of the
Debtor will be liquidated under the Plan in order to maximize the value of the Debtor’s business
operations Therefore, the Plan provides the Debtors’ creditors with distributions of property having

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a value not less than the amount that those holders would receive if the Debtor was to be liquidated
under Chapter 7 of the Bankruptcy Code. The Trustee believes that the Plan is feasible and that the
Plan provides for the greatest and earliest possible recoveries for the creditors of the Debtor.

B. Classification and Treatment of Claims

Section 1123 of the Bankruptcy Code requires that a plan of reorganization classify the
claims of a debtor’s creditors and equity interest holders The Plan divides claims and equity
interests into classes and sets forth the treatment afforded to each class. Under the Plan, each claim
or equity interest is either unimpaired or the holder of the claim or equity interest is to receive
various types of consideration, depending on the nature of the claim or equity interest

A claim is unimpaired under the Plan if the Plan (1) leaves unaltered the legal, equitable and
contractual rights of the holder of the claim, (2) provides for cash payment of the full amount of the
claim on the Effective Date of the Plan or (3) notwithstanding any contractual provision or law that
entitles the holder of the claim to demand or receive accelerated payment after the occurrence of a
default, cures the default, reinstates the maturity of the claim as it existed before the default, and
compensates the holder of the claim for any damages incurred as a result of any reasonable reliance
by the holder on any provision or law that entitles the holder of the claim to demand accelerated
payment

The claims or interests that are or may be impaired under the Plan and therefore are
or may be entitled to vote to accept or reject the Plan are Classes 3, 4, 6, 7 and 8.

For the holder of a claim or equity interest to participate in the Plan and receive the treatment
afforded to the applicable class, the holder’s claim or equity interest must be “allowed”. A claim or
interest will be allowed if it is filed or deemed filed, unless a timely objection to allowance of the
claim or interest is made.

Generally, for a claim or equity interest to be filed, a proof of claim or proof of equity interest
must be timely filed on behalf of the holder of the claim or equity interest with the Bankruptcy Court.
A claim or equity interest will also be deemed to be filed if (1) it is listed on the Schedules of Assets
and Liabilities filed with the Bankruptcy CourtJ as amended (the “Debtor’s Schedules”), unless it is
listed as disputed, contingent or unliquidated or (2) in the case of an equity security holder, the
holder’s interest is reflected on the records of the issuer.

lf an objection to a claim or interest is made, the Banl<ruptcy Court must make a
determination with respect to allowance of that claim or interest Only holders of allowed claims
and allowed interests are entitled to participate in and receive distributions in accordance with the
Plan.

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C. Classes of Claims in Plan. The following is a summary of the classes of creditors and
equity interest holders of the Debtor under the Plan and the provisions made in the Plan for
each class

Class l: ALLOWED PRIORITY CLAIMS. This class consists of the Allowed Priority Claims
as those terms are defined in Article ll herein above, other than Allowed Claims for Administrative
Expense or Ad Valorem Tax Claims

 

Class 2: ALLOWED AD VALOREM TAX CLAIMS. This class consists of the Allowed Ad
Valorem Tax Claims as those terms are defined in Article ll herein above.

Class 3: AllOWed Secured Claims of Holders of Valid Mineral Liens (McMullen
County, Texasl. This class consists of the Allowed Secured Claims of the creditors who timely
filed and perfected mineral liens pursuant to Chapter 56, Texas Property Code, against the Debtor's
oil, gas and mineral lien interests in l\/lcl\/lullen County, Texas. A list of the holders of claims filed
(without admission of validity) is attached hereto as Exhibit C.

Class 4: Allowed Secured Claims of Holders ofValid Mineral Liens (Gonzales Countv.
Texas l. This class consists of the Allowed Secured Claims of the creditors who timely filed and
perfected mineral liens pursuant to Chapter 56, Texas Property Code, against the Debtor's oil, gas
and mineral lien interests in Gonzales County, Texas A list of the holders of claims filed (without
admission of validity) is attached hereto as Exhibit D.

Class 5: ALLOWED CLAIMS OF AssUMEDExaCuTon CONTRACT on LEASE CLAlMANTS.
This class consists of the Allowed Claims of all persons holding executory contracts and/or lease
agreements with the Debtor which were assumed or assumed and modified by the Debtor including
the Assumed Leases

Class 6 : ALLOWED GENERAL UNSECURED CREDITORS CLAIMS. This class consists of all
Allowed General Unsecured Claims as those terms are defined in Article ll herein above.

Class 7: Allowed Investor Claims: This class consists of all Allowed Claims filed by any
Person arising from an investment in any one or more oil and gas venture involving the Debtor.

Class 8: ALLowsn CLAIMS or INTEREST OWNERs. This class consists of all Allowed
Claims of interest Owners in the Debtor.

D. Means for Execution of the Plan
1. Sale of Property. This Plan contemplates that Trustee will sell the Property in a
reasonable manner and use best efforts to obtain the highest price and consideration possible for

such sale. The sale shall be conducted in accordance with a Motion to Sell Under l 1 U.S.C. §
363 when and if granted by the Bankruptcy Court.

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2. Litigation: The claims and causes of action held by the Debtor will be prosecuted in
a reasonable manner and all net proceeds applied to the provisions of the Plan. These include but
are not necessarily limited to all actions under Chapter 5 of the Bankruptcy Code (all payments
made by the Debtor prior to the Filing Date are subject to such claims), actions against lnvestors
under their contracts with Debtor, possible actions against Brian Alfaro for breach of fiduciary
duty and negligence, and

a. Cause No. M~l4-0026-0CV-C; 343“' ludicial District Court, Mcl\/lullen County,
Texas; Primera Energy, LLC vs Tejas Tubnlar Products, Inc.

b. Cause No. 15-148; 216th ludicial District Court, Kendall County, Texas; Prz'mera Energy,
LLC vs Brennon D. Short

3. Reorganized Debtor. The Debtor may not continue in existence as a limited
liability company and may be dissolved under applicable laws to the extent possible as soon as
possible following the Effective Date.

4. Vesting of Assets. ln the event all Allowed Unclassitied Claims and Allowed
Class l, 2, 3, 4, 5, 6 and 7 Claims are not paid in full on the Effective Date, except as otherwise
provided in this Plan, the Property and assets of the Debtor’s bankruptcy estate shall be
transferred to and vest in the Creditor Trust on the Effective Date free and clear of all Claims, but
subject to the obligations set forth in this Plan.

5. Distributions. The Creditor Trust or Reorganized Debtor may distribute
available hinds in accordance with the Plan.

6. Creditor Trust.

A. ln the event all Allowed Unclassified Claims and Allowed Class 1, 2, 3, 4, 5, 6 and
7 Claims are not paid in full on the Effective Date, on the Effective Date the Creditor Trustee shall
execute the Creditor Trust Agreement and the Primera Creditor Trust shall be formed

B. Except as otherwise provided herein, the Creditor Trustee (in his capacity as Creditor
Trustee and not in his individual capacity) shall assume liability for and the obligations to make the
distributions required to be made under the Plan and the Creditor Trust Agreement, but shall not
otherwise assume liabilities of the Debtor.

C. Creditors in Classes 1'7' shall create the Creditors Trust and the Committee shall
designate the initial Creditor Trustee for the purpose of receiving title to all Property and assets and
funds the Debtor transfers to the Creditor Trust, including but not limited to, and except as provided
in this Plan, all interests in real and personal property, any and all claims and causes of action, ri ghts,
claims, and demands against any third parties, investors, individuals or insiders, that the Debtor
owns or has an interest in or can ascertain any fashion, whether pre-petition or post~petition,
including but not limited to actions under sections 544 through 550 of the Bankruptcy Code, to

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recover assets for the Creditor rl`rust and the benefit of the Creditors, and any other consideration to
be received by the Creditors pursuant to the terms of the Plan. ln the event the initial Creditor
Trustee resigns or becomes unable to perform the duties of Creditor Trustee, the initial Creditor
Trustee shall appoint a successor in writing ln the event no successor Trustee is so appointed, upon
application by any interested party, the Bankruptcy Court shall appoint a successor Trustee.

D. The Creditor Trustee shall have all the power and authority to perform any acts set out
in the Trust Agreement or allowed to a Trustee under the Texas Trust Act.

E. The Creditor Trustee shall not be liable for actions taken or omitted in his capacity as
the Creditor Trustee, except those acts arising out of his own fraud or willful misconduct The
Creditor Trustee shall be entitled to indemnification and reimbursement for all losses, fees, and
expenses in defending any and all of his actions or inactions in his capacity as the Creditor Trustee.
Any indemnification claim of the Creditor Trustee shall be satisfied from the assets of the Creditor
Tnist.

F. The Creditor Trust shall become effective upon the Effective Date. Thereafter, the
Creditor Trust shall remain and continue in full force and effect until the Property has been wholly
converted to Cash or abandoned and all costs, expenses and obligations incurred in administering
the Creditor Trust have been fully paid and all remaining income and proceeds of the Trust Property
have been distributed in payment of Allowed Claims and, if applicable, Allowed lnterests pursuant
to the provisions of the Plan. The Creditor Trust will terminate at the end of five years from the
Effective Date; provided, that upon complete liquidation of the Trust Property and satisfaction as far
as possible of all remaining obligations liabilities and expenses of the Creditor Trust pursuant to the
Plan prior to such date, the Creditor Trustee may, with approval of the Bankruptcy Court, sooner
terminate the Creditor Trust; and provided further, that prior to the end of five years from the
Effective Date the Creditor Trustee or any beneficiary of the Creditor Trust may move the
Bankruptcy Court to extend the termination date of the Creditor Trust after notice to interested
parties and an opportunity for hearing Upon termination of the Creditor Ti‘ust, the Creditor Trustee
will be forever discharged and released from all powers, duties, responsibilities and liabilities
pursuant to the Creditor Trust.

G. The Creditor Trust will have the right to retain the services of attorneys accountants
and other agents that, in the discretion of the Creditor Trustee, are necessary to assist the Creditor
Trust in the performance of its duties The fees and expenses of such professionals will be paid by
the Creditor Trust in the ordinary course of business and will not be subject to the approval of the
Bankruptcy Coult. The Creditor Trustee shall be entitled to compensation for his services at a rate
not to exceed $500 per hour and for reimbursement of expenses which shall be paid by the Creditor
Trust in the ordinary course of business and will not be subject to the approval of the Bankruptcy
Court.

H. The Creditor Trust to be established for the benefit of Creditors is intended to qualify
as a liquidating trust for federal income tax purposes All items of income, deduction, credit or loss

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of the Creditor Trust shall be allocated for federal, state and local income tax purposes among the
Holders of Allowed Claims and lnterests.

THE CRED_rToR TRUST

The Creditor Trust shall exist after the Effective Date with all the powers of a trust under
applicable Texas law. The Creditor Trust shall execute and consummate such assignments purchase
agreements bills of sale, operating agreements conveyance documents and all other transaction
documents contracts agreements and instruments as are necessary to implement and consummate
the transactions required under or in connection with the Plan, on and after the Effective Date. After
the Effective Date, the Creditor Trust will own the Trust Property and shall have the flexibility to
conduct any operations necessary to liquidate the Trust Property and to enhance or preserve the value
of the Trust property consistent with the expeditious and beneficial liquidation of such property A
copy of the proposed Trust Agreement is attached to the Plan as Exhibit A.

E. Effect of Rejection by One or More Classes of Claims

i Impaired Classes to Vote. Each impaired class of claims and interests will be
entitled to vote separately to accept or reject the Plan. A holder of a Disputed Clairn (as defined
below) that has not been temporarily allowed for purposes of voting on the Plan may vote that claim
in an amount equal to the portion, if any, of the claim shown as fixed, liquidated and undisputed in
the Debtors’ Schedules.

ii Acceptance by Class ofCreditors. A class will have accepted the Plan if the Plan
is accepted by at least two-thirds in amount and more than one-half in number of the allowed claims
or interests of the class actually voting on the Plan.

iii. Cramdown. lf any impaired class fails to accept the Plan in accordance with Section
l129(a) of the Bankruptcy Code, the Debtor reserves the right to request the Bankruptcy Court to
confirm the Plan in accordance with the provisions of Section 1129(b) of the Bankruptcy Code.

F. Provisions for Resolution and Treatment ofPreferences, Fraudulent Conveyances and
Disputed Claims

i. Preferences and Fraudulent Conveyances. Under the Plan, pursuant to Section
l 123(b)(3) of the Bankruptcy Code, the Debtor will retain, with the exclusive right to enforce in its
sole discretion, any and all causes of action of the Debtor, including all causes of action that the
Debtor owns under Section 541 of the Bankruptcy Code or similar state laws or that may exist under
Sections 510, 544 through 550 and 553 of the Bankruptcy Code or under similar state laws For
disclosure purposes all payments made within one year (if to insiders) or 90 days (if to non-insiders)
prior to Debtor’s filing for bankruptcy protection are subject to these provisions and Reorganized
Debtor may pursue recovery of any or all of such payments All recoveries from such actions net
of costs and expenses shall be paid in accordance with the provisions of this Plan.

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ii. Objections to Claims. Any party in interest may object and contest the allowance
of any Claims filed with the Bankruptcy Court for 90 days following the Effective Date. Claims
listed as disputed, contingent or unliquidated on the Schedules are considered contested Claims
except Claims otherwise treated by the Plan or previously allowed or disallowed by Final Order of
the Bankruptcy Court.

iii. Disputed Claims Reserve. The distributions reserved for the holders of Disputed
Claims will be held in trust by the Debtor for the benefit of the holders of Disputed Claims pursuant
to the Plan (the “Disputed Claims Reserve”). The Disputed Claims Reserve will be held in trust by
the Debtors for the benefit of the holders of Disputed Claims (pending a determination of the
Disputed Claims).

A “Disputed Claim” is a claim against a Debtor (i) as to which an objection has been filed
on or before the deadline for objecting to a claim and which objection has not been withdrawn or
resolved by entry of a final order of the Bankruptcy Court, (ii) that has been asserted in an amount
greater than that listed in the Debtor’s Schedules as liquidated and not disputed or contingent, or (iii)
that the Debtor’s Schedules list as contingent, unliquidated or disputed

The Trustee shall retain the right to litigate Disputed Claims to determine the extent to
which the Disputed Claim should be allowed During the pendency of such litigation, the Creditor
Trust shall escrow into a Disputed Claims Reserve such amounts as may be fixed by agreement, by
provisional allowance in the Confirmation Order, or by other order of the Bankruptcy Court, unless
other depository arrangements or terms are directed by order of the Bankruptcy Court.

When a Disputed Claim becomes an allowed claim, the distributions allowed for the
allowed claim will be released from the Disputed Claims Reserve and delivered to the holder of the
allowed claim. If a Disputed Claim is disallowed, the distributions provided for the Claim will be
released to the Creditor Trust for use in its business operations

All Cash held in the Disputed Claims Reserve and the reserve established for Administrative
Expense Claims shall be invested in those investments described in section 345 of the Bankruptcy
Code. The Creditor Trust shall be responsible for the cost and expenses incurred in connection with
the maintenance of these reserves and the making of Distributions from the reserves after the
Effective Date.

iv. Unclaimea' Distributions: Distributions to be made under the Plan to claimants
holding allowed claims will be made by the Debtor by first class United States mail, postage prepaid
to (i) the latest mailing address set forth in a proof of claim filed with the Bankruptcy Court by or
on behalf of the claimant or (ii) if a proof of claim has not been timely filed, the mailing address set
forth in the Debtors’ Schedules filed by the Debtors. The Debtor will not be required to make any
other effort to locate or ascertain the address of the holder of any claim other than as specifically set
out in the Plan.

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lf any person entitled to receive a distribution from the Debtor under the Plan does not come
forward to collect a distribution or the distribution otherwise remains unclaimed as of one (l) year
after the Effective Date, it will be retained by the Debtor as appropriate, and the affected claimant
will have no further rights against the Debtor.

G. Claims Belonging to the Estate and Discharge of Claims Against the Debtors

i. Causes of Action. All claims recoverable under Chapter 5 of the Bankruptcy Code,
the Bankruptcy Code or similar state laws all claims against third parties on account of any
indebtedness and all other claims owed to or in favor of Debtor to the extent not specifically
compromised and released pursuant to this Plan or an agreement referred to or incorporated herein,
shall be preserved and retained for enforcement by Creditor Trust after the Effective Date. ln the
event of conversion to a Chapter 7 proceeding, such claims shall be preserved and retained for
enforcement by the Chapter 7 Trustee, subject to applicable limitations periods

ii Legally Binding Ejj”ect; Disclmrge of Claims and Interests: The provisions of the
Plan will (i) bind all creditors and equity interest holders whether or not they accept the Plan, and
(ii) discharge the Debtors from all debts that arose before the Petition Date. ln addition, the
distributions of cash provided for under the Plan will be in exchange for and in complete satisfaction,
discharge and release of all claims against and interests in the Debtors or any of its assets or
properties including any claim or interest accruing after the Petition Date and before the Effective
Date. On and after the Effective Date, all holders of impaired claims and interests will be precluded
from asserting any»clairn against the Reorganized Debtors or its assets or properties based on any
transaction or other activity that occurred before the Petition Date. The distributions provided for
creditors and equity interest holders will not be subject to any claim by another creditor or equity
interest holder by reason of an assertion of a contractual right of subordination

iii. List of Claims and Causes ofAction Hela' by Debtor

l. Cause No. M-l4-0026-0CV~C; 343rd l udicial District Court, Mcl\/lullen County, Texas;
Prz'mera Energy, LLC vs Tejas Tubulczr Producls, Irzc.

2. Cause No. 15-148; 216“‘ Judicial District Couit, Kendall County, Tcxas; Prr'mera Energy, LLC
vs. Brennon D. Short

3. Possible claims against each investor for unpaid obligations related to the wells in which they
invested pursuant to their investment agreements

4. Possible claims against Brian Alfaro for breach of fiduciary duties negligence, and malfeasance
in his position as President of Debtor

5. All claims arising post-petition relating to the proposed sale of properties

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6. Claims under Chapter 5 of the Bankruptcy Code to recover preferential or fraudulent
transfers of property against any Person receiving payment prior to the Filing Date.

H. Committee

The Committee shall be dissolved and terminated on the Effective Date or as soon thereafter
as all pending objections to claims involving the Committee have been finally adjudicated

I. Retention of Jurisdiction

i. Jurisdiction. Until this Chapter ll case is closed, the Bankruptcy Court will retain
such jurisdiction as is legally permissible, including jurisdiction necessary to insure that the purpose
and intent of the Plan are carried out and to hear and determine all claims that could have been
brought before the entry of the Confirmation Order. The Bankruptcy Court will retain jurisdiction
to hear and determine all claims against the Debtor and to enforce all causes of action that may exist
on behalf of the Debtor. Nothing contained in the Plan will prevent the Debtor from taking such
action as may be necessary in the enforcement of any cause of action that may exist on behalf of the
Debtor and that may not have been enforced or prosecuted by the Debtor.

ii. Examination of Claims. After the Confirmation Date, the Bankruptcy Court will
further retain jurisdiction to decide disputes concerning the classification and allowance of the claim
of any creditor and the re-examination of claims that have been allowed for the purposes of voting,
and to determine such objections as may be filed to creditors’ claims The failure by the Debtor to
object to, or to examine, any claim for the purposes of voting, will not be deemed a waiver of the
right of the Debtor to object to, or to re-examine, the claim, in whole or in part.

iii. Determin ation of Disp utes. The Bankruptcy Court also will retain jurisdiction after
the Confirmation Date to determine all questions and disputes regarding title to the assets of the
Debtor’ s estate, disputes concerning the allowance ofclaims and all causes of action, controversies
disputes or conflicts whether or not subject to any pending action as of the Confirmation Date, for
the Debtor to recover assets pursuant to the provisions of the Bankruptcy Code.

iv. Additional Purposes The Bankruptcy Court will retain jurisdiction for the
following additional purposes after the Effective Date:

(a) to modify this Plan after confirmation pursuant to the Bankruptcy Rules and
the Bankruptcy Code;

(b) to assure the performance by Reorganized Debtor of its obligations to make
Distributions under this Plan;

(c) to enforce and interpret the terms and conditions of this Plan;

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(d) to adjudicate matters arising in this bankruptcy case, including matters
relating to the formulation and consummation of the Plan;

(e) to enter such orders including injunctions as are necessary to enforce the
title, rights and powers of Reorganized Debtor and to impose such limitations restrictions terms
and conditions on such title, rights and powers as this Bankruptcy Court may deem necessary',

(f`) to enter an order terminating this Chapter ll Case;

(g) to correct any defect, cure any omission, or reconcile any inconsistency in
this Plan or the order of confirmation as may be necessary to carry out the purposes and intent of this
Plan;

(h) to allow applications for fees and expenses pursuant to section 503(b) of the
Bankruptcy Code; and

(i) to decide issues concerning federal tax reporting and withholding which arise
in connection with the confirmation or consummation of this Plan.

I. Default under Plan

i. Asserting Default. If the Debtor or Creditor Trust defaults under the provisions of
the Plan (as opposed to default under the documentation executed in implementing the terms of the
Plan, Which documents will provide independent bases for relief), any creditor or party in interest
desiring to assert the default may provide the Trustee with written notice of the alleged default

ii. Curing Defau[t.

Except as otherwise set out herein, the Debtor or Creditor Trust shall have thirty (30) days
from receipt of the written notice in which to cure an alleged breach or default under this Plan,
including any default under any Related Document. The notice shall be delivered by United Srares
certified mail, postage prepaid return receipt requested and by regular, first class mail postage
prepaidJ addressed to the Trustee at the following address or at such other address as is provided in
writing by Trustee:

lason R. Searcy, Trustee
SEARCY & SEARCY, P.C.
P.O. Box 3929
Longview, Texas 75606
(903) 757-9559 Facsimile

lf the default is not cured, any Creditor or party in interest may thereafter file with the
Bankruptcy Court and serve upon Trustee a motion to compel compliance with the applicable

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provision of the Plan. The Bankruptcy Court, upon finding a material default, shall issue such orders
compelling compliance with the pertinent provisions of the Plan.

J. Miscellaneous Provisions

i. Compliance with Tax Requirements and Limits on Distribution. in connection
with the Plan, the Debtor and Creditor Trust will comply with all withholding and reporting
requirements imposed by federal, state and local taxing authorities and distributions under the Plan
will be subject to those withholding and reporting requirements Any creditor or beneficiary of the
Creditor Trust shall provide the Creditor Trustee or Trustee a form W-9 before any distribution may
be paid to such creditor or beneficiary If, after three written requests no such form has been
provided, the claim asserted by such creditor or beneficiary shall be deemed waived and disallowed

ii. Amendment of the Plan. The Plan may be amended by the Trustee or before or after
the Effective Date as provided in Section l127 of the Bankruptcy Code.

iii. Revocation of the Plan. The Trustee has reserved the right to revoke and withdraw
the Plan at any time before the Confirmation Date.

iv. Ejj`ect of Withdrawal or Revocation. lf the Trustee revokes or withdraws the Plan
before the Confirmation Date, or if the Confirmation Date or the Effective Date does not occur, then
the Plan will be null and void. ln that event, nothing contained in the Plan or in this Disclosure
Statement will be deemed to constitute a waiver or release of any claims by or against the Debtor or
any other person, or to prejudice in any manner the rights of the Debtor or any person in any further
proceedings involving the Debtor.

v. Due A uthorization By Creditors. Each creditor who elects to participate in the
distributions provided for in the Plan warrants that the creditor is authorized to accept in
consideration of the claim against the Debtor the distributions provided for in the Plan and that there
are no outstanding commitments agreements or understandings express or implied, that may or can
in any way defeat or modify the rights conveyed or obligations undertaken by the creditor under the
Plan.

vi. Fit'ing ofAdditional Documentation. On or before the Effective Date, the Trustee
will file with the Bankruptcy Court such agreements and other documents as may be necessary or
appropriate to effect and further evidence the terms and conditions of the Plan.

vi. Limitatian ofLiability in Connection with the Plan, Disclosure Statement and
Related Documents and Relatea' Indemnity.

(a) The Plan Participants (as defined hereafter) will neither have nor incur any

liability to any entity for any act taken or omitted to be taken in connection with or related to the
formulation, preparation, dissemination, implementation, confirmation or consummation of the Plan,

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the Disclosure Statement, the Confirmation Order or any contract, instrument, release or other
agreement or document created or entered into, or any other act taken or omitted to be taken in
connection with the Plan, the Disclosure Statement or the Confirmation Order, including solicitation
of acceptances of the Plan; provided, however, the provisions of this Section will have no effect on
the liability of any Plan Participant that would otherwise result from any such act or omission to the
extent that such act or omission is determined in a final order to have constituted gross negligence
or willful misconduct “Plan Participants” means the Trustee, and the employees and advising
professionals of the Trustee in this proceeding..

(b) The Creditor Trust will indemnify each Plan Participant, hold each Plan
Participant harmless from, and reimburse each Plan Participant for, any and all losses costs
expenses (including attorneys’ fees and expenses), liabilities and damages sustained by a Plan
Participant arising from any liability described in this Section.

x. Section Headings. The section headings used in the Plan are for reference purposes
only and shall not affect in any way the meaning or interpretation of the Plan.

5.
FEASIBILITY

THE FORECASTED FINANCIAL RESULTS CONTAINED IN THIS DlSCLOSURE
STATEMENT ARE BASED ON ESTIMATES AND ASSUMPTIONS THAT ARE lNHERENTLY
UNCERTAIN AND, THOUGl-l CONSIDERED REASONABLE BY THE TRUSTEE, ARE
SUBJECT TO SlGNlFICANT BUSINESS, ECONOMlC, LI'l`lGA'l`lON AND COMPETITIVE
UNCERTAINTIES AND CONTINGENCIES, ALL OF WHICH ARE DIFFICULT TO PREDICT
AND MANY OF WHICH ARE BEYOND THE CONTROL OF THE TRUSTEE.
ACCORDINGLY, THERE CAN BE NO ASSURANCE TI-IAT THE FORECASTED RESULTS
WILL BE REALIZED AND THAT ACTUAL RESULTS WILL NOT BE SIGNIFICANTLY
HIGHER OR LOWER THAN FORECASTED. THE TRUSTEE MAY REVISE THESE
ESTll\/IATES AND ASSUMPTIONS AT OR BEFORE THE CONFIRMATION HEARING Ol\l
THE PLAN.

A. General. As a condition to confirmation of the Plan, Section l 129 of the Bankruptcy Code
requires that the Bankruptcy Court determine that confirmation is not likely to be followed by the
liquidation or need for further financial reorganization of the Debtor. This Plan calls for the
liquidation of Debtor’s assets and the Trustee has made a reasonable determination that it is in the
best interests of all of the Debtors creditors that its assets be liquidated as a part of the Plan.
Accordingly, this provision is not applicable to this Plan.

B. Operating Report. The Trustee has continued to operate Debtor’s business during the
pendency of this bankruptcy proceeding A true and correct copy of the most recent Monthly

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Operating Report filed by the Trustee in the bankruptcy action showing its post-petition operations
is attached hereto as Exhibit “B” and incorporated herein for all purposes

C. Sale of Oil and Gas lnterests. Trustee will sell the oil and gas interests owned by Debtor.
The proceeds of sale will go first to pay ad valorem taxes attributable to each respective property,
then to any secured administrative claim, and then to the appropriate Allowed Secured Claim
pursuant to the Plan of Reorganization. lt is anticipated that the Mcl\/lullen County and Gonzales
County properties will not sell for sufficient amounts to pay the Allowed Secured Claims in full.
lt is also anticipated that the sale of the Montague County properties will be free of secured claims
other than Ad Valorem tax claims

D. Litigation. The Trustee retained Sloan, Bagley, Hatcher and Perry as special counsel to
prosecute two state court suits which were pending on the Filing Date. In these actions total
damages in excess of 33 million are sought No trial dates have been scheduled

F. Funds and Assets. Upon filing of this Disclosure Statement, the Debtor’s estate consists
of the following:

Cash of approximately $600,000

Mcl\/lullen County oil and gas properties (estimated value $610,000).
Gonzales County oil and gas properties (estimated value $900,000).
Montague County oil and gas properties (estimated value $300,000).
litigation Claims.

lnvestor Obligations

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These, and any other assets of the estate, will be used to fund the Plan.
6.

ALTERNATIVES TO CONFIRMATION
AND CONSUMMATION OF PLAN

The Trustee believes that the Plan affords holders of claims and equity interests the potential
for the greatest realization on the Debtor’s assets and, therefore, is in the best interests of those
holders lf the Plan is not confirmedJ however, the theoretical alternatives include; (l) continuation
of the pending Chapter ll case; (2) alternative plans of reorganization; or (3) liquidation of the
Debtor under Chapter 7 of the Bankruptcy Code.

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A. Continuation of Case

if the Debtor remains in Chapter l l, the Trustee could continue to operate its business and
manage its properties but it would remain subject to the restrictions imposed by the Bankruptcy
Code and to the stigma associated with bankruptcy proceedings

B. Alternative Plans of Reorganization

If the Plan is not confirmed, any party in interest in the case could attempt to formulate and
propose a different plan or plans

C. Liquidation under Chapter 7

lf no plan can be confirmed the Debtor’s Chapter l l cases may be converted to cases under
Chapter 7 of the Bankruptcy Code. In a Chapter 7 proceeding, a trustee would be elected or
appointed to liquidate the assets of each Debtor. The proceeds of the liquidation would be
distributed to the holders of claims against the Debtor in accordance with the priorities established
by the Bankruptcy Code. Because the Debtor’s business operations would cease as of the conversion
of the case to Chapter 7, and the Debtor is the operator of most of its oil and gas properties the oil
and gas properties would be shut-in and production cease. This could threaten the viability of the
wells and validity of the leases on which those wells are located The Trustee believes that a sale
of the Debtor’s interest in these conditions would result in substantially less value than an orderly
sale under the proposed Plan.

Under Chapter 7, a secured creditor whose claim is fully secured would be entitled to full
paymentJ including interest, from the proceeds of the sale of its collateral Unless its claim is
nonrecourse, a secured creditor whose collateral is insufficient to pay its claim in full would be
entitled to assert an unsecured claim for the deficiency Claims entitled to priority under the
Bankruptcy Code would be paid in full before any distribution to general unsecured creditors
Funds, if any remain, after payment of secured claims and priority claims would be distributed
pro rata to general unsecured creditors

The Trustee believes that liquidation under Chapter 7 would result in substantial diminution
of the value of Debtor’s estate because of additional administrative expenses involved in the
appointment of trustees and attorneys accountants and other professionals to assist the trustees ln
particular, in a Chapter 7 scenario, it is likely, and presumed for purposes of this analysis a trustee
would proceed with liquidation of Debtor’s assets under a forced sale scenario which would result
in much lower offers

The Plan proposed by the Trustee calls for the liquidation of all of the Debtor’s assets under
an orderly process lt also allows for the creation of the Creditors’ Trust to continue to collect the
obligations over a longer period of time that possible under a Chapter 7 proceeding which would
likely result in a Chapter 7 Trustee severely discounting the amounts due for an early disposition of

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the proceeding This the Trustee_believes would seriously reduce the amount of recovery to
creditors

7.
VOTING PROCEDURES AND REQUIREMENTS
A. Voting Procedures and Requirements

The Debtor is seeking the acceptance of the Plan by all classes of impaired creditors and the
holders of the Existing Equity interests

A ballot to be used to accept or reject the Plan has been enclosed with all copies of this
Disclosure Statement mailed to holders of claims whose claims are impaired by provisions of the
Plan. Accordingly, this Disclosure Statement (and the annexes exhibit and schedules to this
Disclosure Statement), together with the accompanying ballot and the related materials delivered
together with this Disclosure Statement, are being furnished to all holders of an allowed claim or
interest, and may not be relied on or used for any purpose other than to determine whether or not to
vote to accept or reject the Plan.

Ballots with respect to the Plan will be accepted by the Trustee until 5:00 p.m., Central
Standard Time, on (the “Voting Deadline”). The Bankruptcy Court has directed
that, to be counted for voting purposes ballots for the acceptance or rejection of the Plan must be
received by the Debtors’ counsel no later than 5:00 p.rn.. Central Standard Time, on
____, at the following address:

SaAacY & SEARCY, P,C.
P. O. Box 3929
Longview, Texas 75606
Fax. (903) 757-95 59

Except to the extent permitted by the Bankruptcy Court pursuant to Rule 30l 8 of the Bankruptcy
Rules ballots that are received after the Voting Deadline will not be accepted or used by the Debtor
in connection with the Trustee’s request for confirmation of the Plan.

After carefully reviewing this Disclosure Statement and its annexes exhibits and schedules
please indicate your vote on the enclosed ballot, and return it to SEARCY & SEARCY, P.O., Box
3929, Longview, Texas 75606. ln voting for or against the Plan, please use only the ballot sent to
you with this Disclosure Statement (except as set forth below). Please complete and sign your ballot
in accordance with the instructions set forth on the ballot.

Any ballots received that do not indicate either an acceptance or a rejection of the Plan or
that indicate both an acceptance and rejection of the Plan will be deemed not to constitute a vote.

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Unless otherwise directed by the Bankruptcy Court, all questions as to the validity, form,
eligibility (including time of receipt), acceptance, and revocation or withdrawal of ballots or master
ballots will be determined by the Debtor in its sole discretion, whose determination will be final and
binding

This Disclosure Statement has been approved by order of the Bankruptcy Court, (the
‘°Disclosure Statement Order”), as containing information of a kind and in sufficient detail to enable
a hypothetical, reasonable person, typical of a holder of a claim or interest, to make an informed
judgment whether to accept or reject the Plan. Approval of the Disclosure Statement by the
Bankruptcy Court does not constitute a ruling as to the fairness or merits of the Plan.

The Bankruptcy Court will hold a hearing on confirmation of the Plan, at which time the
Bankruptcy Court will consider objections to confirmation, if any, commencing at . rn.
Central Standard Time on , in the United States Bankruptcy Court, San Antonio,
Texas. The Confirmation Hearing may be adjourned from time to time without notice other than
the announcement of an adjourned date at the Confirmation Hearing. Objections to confirmation
of the Plan, if any, must be in writing and served and filed as described in this Disclosure Statement

FOR YOUR BALLOT OR TO BE COUNTED, YOUR BALLOT MUST BE
COMPLETED AS SET FORTH ABOVE AND RECElVED BY THE VOTING DEADLINE (5:00
P.M., CENTRAL STANDARD TIME, ON ). BALLOTS SHOULD BE
DELIVERED OR MAILED TO: SEARCY& SEARCY, P.C.; P.O. BOX 3929, LONGVIEW,
TEXAS 75606.

THE FOREGOING lS A SUMMARY. THlS DISCLOSURE STATEMENT AND THE
ANNEXES, SCHEDULES AND EXHIBIT TO THIS DISCLO SURE STATEMENT SHOULD BE
READ IN THEIR ENTIRETY BY ALL HOLDERS OF CLAll\/IS AND EQUITY INTERESTS lN
DETERMINING WHETHER TO ACCEPT OR REJECT THE PLAN.

B. Parties in Interest Entitled to Vote

Any holder ofa claim against or equity interest in the Debtor whose claim or equity interest
is impaired under the Plan and entitled to vote under the Plan, is entitled to vote to accept or reject
the Plan if either (l) itS Claim or equity interest has been scheduled by the Debtor (and the claim or
equity interest is not scheduled as disputed, contingent or unliquidated), or (2) it has timely filed a
proof of claim or proof of equity interest lf the Debtor or Trustee has filed an objection with respect
to a claim or equity interest, the holder of that claim or interest is not entitled to vote, unless the
Bankruptcy Court, upon application of the holder, temporarily allows the claim or equity interest in
an amount that the Bankruptcy Court deems proper for the purpose of accepting or rejecting the Plan.

A vote may be disregarded if the Bankruptcy Court determines that it was not solicited or procured
in good faith or in accordance with the provisions of the Bankruptcy Code.

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C. Definition of Impairment

A class of claims or interests is impaired under a plan of reorganization unless as set forth
in section 1124 of the Bankruptcy Code, with respect to each claim or interest of the class:

i. the Plan leaves unaltered the legal, equitable, and contractual rights of the holder of
the claim or interest; or

ii. notwithstanding any contractual provisions or applicable laws that entitles the holder
of a claim or interest to demand or receive accelerated payment of the claim or
interest after the occurrence of a default, the Plan:

a) cures any default that occurred before or after the commencement of the case
other than a default of a kind specified in Section 3 65(b)(2) of the
Bankruptcy Code;

b) reinstates the maturity of the claim or interest as the maturity existed before

the default;

c) compensates the holder of the claim or interest for any damages incurred as
a result of any reasonable reliance by the holder on those contractual
provisions or applicable laws and

d) does not otherwise alter the legal, equitable or contractual rights to which
the holder is entitled with respect to the claim or interest

D. Classes Irnpaired Under the Plan

The only claims or interests that are or may be impaired under the Plan and therefore are
or may be entitled to vote to accept or reject the Plan are Classes 3, 4, 6, 7 and 8.

E. Vote Required for Class Acceptance

The Bankruptcy Code defines acceptance of a plan by a class of claims as acceptance by
holders of at least two-thirds in amount, and more than one-half in number, of the claims of that class
that actually cast ballots for acceptance or rejection of the Plan. Thus class acceptance occurs only
if two-thirds in amount and a majority in number of the holders of claims voting cast their ballots
in favor of acceptance

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8.
CONFIRMATION OF THE PLAN
A. Confirmation Hearing

Section 1 l 28(a) of the Bankruptcy Code requires the Bankruptcy Court, after notice, to hold
a hearing on confirmation of the Plan. By order of the Bankruptcy Court, the Confirmation Hearing
on the Plan has been scheduled on , at n.m. Central Standard Time, in the
United States Bankruptcy Court, San Antonio, Texas. The Confirmation Hearing may be adjourned
from time to time by the Bankruptcy Court without further notice except for an announcement made
at the Confirmation Hearing or any adjournment thereof

Section l 128(b) of the Bankruptcy Code provides that any party in interest may object to
confirmation of a plan. Any objection to confirmation of the Plan must be made in writing and filed
in the Bankruptcy Court and served upon the parties entitled to service, together with proof of service
on or before

Obj ections to confirmation of the Plan are governed by Rule 9014 of the Bankruptcy Rules.
UNLESS AN OBJECTION TO CONFIRMATION lS Tll\/IELY SERVED AND FlLED lT MAY
NOT BE CONSIDERED BY THE BANKRUPTCY COURT.

B. Requirements For Confirmation of The Plan

At the Confirmation Hearing, the Bankruptcy Court will determine whether the Bankruptcy
Code’s requirements for confirmation of the Plan have been satisfied lf the requirements are
satisfied, the Bankruptcy Court will enter an order confirming the Plan. As set forth in Section l 129
of the Bankruptcy Code, these requirements are as follows:

' The plan complies with the applicable provisions of the Bankruptcy Code.

' The proponent of the plan complies with the applicable provisions of the
Bankruptcy Code.

~ The plan has been proposed in good faith and not by any means forbidden by law.

' Any payment made or to be made by the proponent, by the debtor, or by a person

issuing securities or acquiring property under the plan, for services or for costs and
expenses in or in connection with the case, or in connection with the plan and
incident to the case, has been approved by, or is subject to the approval of, the court
as reasonable

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' The proponent of the plan has disclosed (1) the identity and affiliations of any
individual proposed to serve, after confirmation of the plan, as a director, officer, or
voting trustee of the debtor, an affiliate of the debtor participating in a joint plan
with the debtor, or a successor to the debtor under the plan and the appointment to,
or continuance in, the office of that individual, is consistent with the interests of
creditors and equity security holders and with public policy, and (2) the identity of
and the nature of any compensation for any insider that will be employed or retained
by the reorganized debtor.

° Any governmental regulatory commission with jurisdiction, after confirmation of
the plan, over the rates of the debtor has approved any rate change provided for in
the plan, or the rate change is expressly conditioned on that approval

~ With respect to each impaired class of claims or interests:

" each holder of a claim or interest of the class (l) has accepted the plan; or
(2) will receive or retain under the plan on account of the claim or interest
property of a value, as of the effective date of the plan, that is not less than
the amount that the holder would so receive or retain if the debtor were
liquidated under Chapter 7 of the Bankruptcy Code on the effective date of
the plan; or

-~ if Section llll(b)(Z) of the Bankruptcy Code applies to the claims of the
class the holder of a claim of the class will receive or retain under the plan
on account of the claim property of a value, as of the effective date of the
plan, that is not less than the value of the holder’s interest in the estate’s
interest in the property that secures those claims

' With respect to each class of claims or interests:
" the class has accepted the plan; or
~~ the class is not impaired under the plan;
' Except to the extent that the holder of a particular claim has agreed to a different

treatment of the claim, the plan provides that:

" with respect to a claim of a kind specified in Section 507(a)(1) or 507(a)(2)
of the Bankruptcy Code, on the effective date of the plan, the holder of the
claim will receive on account of the claim cash equal to the allowed amount
of the claim;

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" with respect to a class of claims of a kind specified in Section 507(a)(3),
507(a)(4), 507(a)(5), 507(a)(6) or 507(a)(7) of the Bankruptcy Code, each
holder of a claim of the class will receive (l) if the class has accepted the
plan, deferred cash payments of a value, as of the effective date of the plan,
equal to the allowed amount of the claim; or (2) if the class has not accepted
the plan, cash on the effective date of the plan equal to the allowed amount
of the claim; and

" with respect to a claim of a kind specified in Section 507(a)(8) of the
Bankruptcy Code, the holder of a claim will receive on account of the claim
deferred cash paymentsJ over a period not exceeding six years after the date
of assessment of the claim, of a value, as of the effective date of the plan,
equal to the allowed amount of the claim.

' lf a class of claims is impaired under the plan, at least one class of claims that is
impaired has accepted the plan, determined without including any acceptance ofthe
plan by any insider.

' Confirmation of the plan is not likely to be followed by the liquidation, or the need

for further financial reorganization, of the debtor or any successor to the debtor
under the plan, unless the liquidation or reorganization is proposed in the plan.

The Trustee believes that the Plan satisfies all of the statutory requirements of Chapter ll
of the Bankruptcy Code, that they have complied or will have complied with all of the requirements
of Chapter ll, and that the proposal of the Plan is made in good faith.

The Trustee believes that the holders of all claims and equity interests impaired under the
Plan will receive payments or distributions under the Plan having a present value as of the Effective
Date in amounts not less than the amounts that they would receive if the Debtor was liquidated in
a case under Chapter 7 of the Bankruptcy Code. At the confirmation hearing, the Bankruptcy Court
will determine whether holders of claims and equity interests would receive greater distributions
under the Plan than they would receive in a liquidation under Chapter 7.

The Trustee believes that confirmation of the Plan is not likely to be followed the need for
further financial reorganization of the Debtor or any successor to the Debtors under the Plan.

C. Cramdown

If any impaired class of claims or equity interests does not accept the Plan, the Bankruptcy
Court may still confirm the Plan at the request of the Trustee or if, as to each impaired class that has
not accepted the Plan, the Plan “does not discriminate unfairly” and is “fair and equitable.” A plan
of reorganization does not discriminate unfairly within the meaning of the Bankruptcy Code if no
class that does not accept the Plan receives less than is being received by a class of equal ranl<.

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“Fair and equitable” has different meanings with respect to the treatment of secured and
unsecured claims As set forth in Section 1129(b)(2) of the Bankruptcy Code, those meanings are
as follows:

i. Secured Claims

° The plan provides that the holders of the claims retain the liens securing the
claims, whether the property subject to the liens is retained by the debtor or
transferred to another entity, to the extent of the allowed amount of the
claims, and each holder of a claim of the class will receive on account of the
claim deferred cash payments totaling at least the allowed amount of the
claim, of a value, as of the effective date of the plan, of at least the value of
the holder’s interest in the estate’s interest in the property;

' The plan provides for the sale, subject to Section 363(1<) of the Bankruptcy
Code, of any property that is subject to the liens securing the claims, free and
clear of those liens, with those liens to attach to the proceeds of the sale, and
the treatment of the liens on proceeds under the previous or following bullet
point of this subparagraph; or

' The plan provides for the realization by the holders of the indubitable
equivalent of the claims.

ii. Unsecured Claims and Investor Claims

° The plan provides that each holder of a claim of the class receive or retain
on account of the claim property of a value, as of the effective date of the
plan, equal to the allowed amount of the claim; or

' The holder of any claim or interest that is junior to the claims of the class
will not receive or retain under the plan on account of the junior claim or
interest any property.

iii. Interests

* The plan provides that each holder of an interest of the class receive or retain
on account of the interest property of a value, as of the effective date of the
plan, equal to the greatest of the allowed amount of any fixed liquidation
preference to which the holder is entitled, any fixed redemption price to
which the holder is entitled, or the value of the interest; or

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- The holder of any interest that is junior to the interests of the class will not
receive or retain under the plan on account of the junior interest any

property.

lf one or more classes of impaired claims and equity interests reject the Plan, the Bankruptcy
Court will determine at the confirmation hearing whether the Plan is fair and equitable with respect
to, and does not discriminate unfairly against, any rejecting impaired class of claims or equity
interests

in the Trustee’s view, the Plan is confirmable under Section 1129(b) of the Bankruptcy
Code, if necessary.

9.
CER'I`AIN FEDERAL INCOME TAX CONSEQUENCES OF THE PLAN

A. General.

The following is a general summary of certain material federal income tax consequences of
the implementation of the Plan to the Debtor, creditors and shareholders This summary does not
discuss all aspects of federal income taxation that may be relevant to the Debtor, to a particular
creditor or shareholder in light of its individual investment circumstances or to certain creditors or
shareholders subject to special treatment under the federal income tax laws (for example, tax-exempt
organizations, financial institutions, broker"dealers, life insurance companies, foreign corporations
or individuals who are not citizens or residents of the United States). This summary also does not
discuss any aspects of state, local or foreign taxation

This summary is based upon the internal Revenue Code of 1986, as amended (the “lRC”),
the Treasury regulations (including temporary regulations) promulgated thereunder, judicial
authorities and current administrative rulings, all as in effect on the date hereof and all of which are
subject to change (possibly with retroactive effect) by legislation, administrative action or judicial
decision Moreover, due to a lack of definitive judicial or administrative authority or interpretation,
substantial uncertainties exist With respect to various tax consequences of the Plan as discussed
herein. The Debtor has not requested a ruling from the lnternal Revenue Service (the “IRS”) with
respect to these matters and no opinion of counsel has been sought or obtained by the Debtor with
respect thereto. There can be no assurance that the lRS will not challenge any or all of the tax
consequences of the Plan, or that such a challenge, if asserted, would not be sustained

FOR THE FOREGOING REASONS, CREDITORS AND OWNERS OF EQUITY
INTERESTS ARE URGED TO CONSULT WITH THEIR OWN TAX ADVISORS AS TO
'I`HE SPECIFIC TAX CONSEQUENCES (FOREIGN, FEDERAL, STATE AND LOCAL)
TO THEM OF THE PLAN. THE DEBTORS ARE NOT MAKING ANY
REPRESENTATIONS REGARD!NG THE PARTICULAR TAX CONSEQUENCES ()F THE
CONFIRMATION AND CONSUMMATION OF THE PLAN AS TO ANY HOLDERS OF`

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CLAIMS OR SHAREHOLDERS, NOR ARE THE DEBTORS RENDERING ANY FORM
OF LEGAL OPINION AS TO SUCH TAX CONSEQUENCES.

B. F ederal Income Tax Consequences to the Debtor
i. Cancellation of Indebtedness

Under general tax principles, the Debtor would realize cancellation of debt (“COD”) income
to the extent that the Debtors pay a creditor pursuant to the Plan an amount of consideration in
respect of a claim against the Debtors that is worth less than the amount of such claim. F or this
purpose, the amount of consideration paid to a creditor generally would equal the amount of cash
or the fair market value on the Effective Date of any other property paid to such creditor. Because
the Debtor will be in a bankruptcy case at the time the COD income is realized, the Debtor will not
be required to include COD income in gross income, but rather will be required to reduce certain of
their tax attributes by the amount of COD income so excluded Under the general rules of IRC
section 108, the required attribute reduction would be applied first to reduce the Debtors’ net
operating loss carry forwards (“NOLS”) to the extent of such NOLs, with any excess excluded COD
income applied to reduce certain other tax attributes

IRC section lUS(b)(§) provides an election pursuant to which the Debtor can elect to apply
the required attribute reduction first to reduce the basis of their depreciable property to the extent of
such basis, with any excess applied next to reduce their NOLs and then certain other tax attributes
The Debtor has not yet determined whether they will make the election under lRC section l 08(b)(5).

ii. Federal Income Tax Consequences to Holders of Claims and Holders of
Equity Interests

The federal income tax consequences of the implementation of the Plan to a holder of a
claim will depend upon a number of factors, including whether such holder is deemed to have
participated in an exchange for federal income tax purposes, and, if so, whether such exchange
transaction constitutes a tax-free recapitalization or a taxable transaction; whether such holder’s
present debt claim constitutes a “security” for federal income tax purposes', the type of consideration
received by such holder in exchange for its allowed claim; and whether such holder reports income
on the accrual basis

iii. Holders of Other Priority Claims and Certain General Unsecured Claims

A holder whose claim is paid in full or otherwise discharged on the Effective Date will
recognize gain or loss for federal income tax purposes in an amount equal to the difference between
(a) the fair market value on the Effective Date of any property received by such holder in respect of
its claim (excluding any property received in respect of a claim for accrued interest that had not been
included in income) and (b) the holder‘s adjusted tax basis in the claim (other than any claim for
such accrued interest). A holder’s tax basis in property received in exchange for its claim will

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generally be equal to the fair market value of such property on the Effective Date. The holding
period for any such property will begin on the day after the Effective Date.

Under the Plan, some property may be distributed or deemed distributed to certain holders
of claims with respect to their claims for accrued interest Holders of claims for accrued interest
which previously have not included such accrued interest in taxable income will be required to
recognize ordinary income equal to the fair market value of the property received with respect to
such claims for accrued interest. Holders of claims for accrued interest which have included such
accrued interest in taxable income generally may take an ordinary deduction to the extent that such
claim is not fully satisfied under the Plan (after allocating the distribution between principal and
accrued interest), even if the underlying claim is held as a capital asset. The tax basis of the property
received in exchange for claims for accrued interest will equal the fair market value of such property
on the Effective Date, and the holding period for the property received in exchange for such claims
will begin on the day after the Effective Date. The extent to which consideration distributable under
the Plan is allocable to interest is not clear. Claimholders are advised to consult their own tax
advisors to determine the amount, if any, of consideration received under the Plan that is allocable
to interest.

The market discount provisions of the IRC may apply to holders of certain claims In
general, a debt obligation other than a debt obligation with a fixed maturity of one year or less that
is acquired by a holder in the secondary market (or, in certain circumstances upon original issuance)
is a “l\/larket Discount Bond” as to that holder if its stated redemption price at maturity (or, in the
case of a debt obligation having original issue discount, the revised issue price) exceeds the tax basis
of the debt obligation in the holder’s hands immediately after its acquisition I-lowever, a debt
obligation will not be a “market discount bond” if such excess is less than a statutory de minimis
amount Gain recognized by a holder of a claim with respect to a “market discount bond” will
generally be treated as ordinary interest income to the extent of the market discount accrued on such
debt obligation during such holder’s period of ownership, unless such holder elected to include
accrued market discount in taxable income currently. A holder of a “market discount bond” that is
required under the market discount rules of the lRC to defer deduction of all or a portion of the
interest on indebtedness incurred or maintained to acquire or carry the debt obligation may be
allowed to deduct such interest, in whole or in part, on disposition of such debt obligation

iv. Withholding
The Trustee will withhold all amounts required by law to be withheld from payments to

holders of claims In addition, holders of claims may be required to provide certain tax information
to the Trustee.

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10.
RIGHT TO AMEND
Notwithstanding any provision of this Disclosure Statement, Trustee reserves the right
pursuant to ll U.S.C. § 1125 to amend the Plan following approval of this Disclosure Statement
Notice of any Plan amendments so made will be given in accordance with the applicable provisions
of the Bankruptcy Code.
1 1.
CONCLUSION
All holders of claims against and equity interests in the Debtor are urged to vote to accept
the Plan and to evidence their acceptance by returning their ballots so that the ballots will be received
by
DATED: .lanual'y 5, 2016.
Respectfully submitted,

PRIMERA ENERGY, LLC.

By: /S/ Jason R. Secter
Chapter ll Trustee

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UNITED STATES BANKRUPTCY COURT
WESTERN DISTR_ICT OP TEXAS

SAN ANTONIO DIVlSlON

lN RE: §

§
PRIMERA ENERGY, LLC § CASE NO. 15-51396
21022 Gathering Oak #210] §
San Antonio, Texas 78260 §

§
DEBTOR. § CHAPTER ll

PLAN OF REORGANIZATION

Jason R. Searcy, Chapter ll Trustee (the “Trustee”) for Primera Energy, LLC (the
“Debtor”), proposes this Plan of Reorganization (the “Plan”), pursuant to section llZl(a), title ll,
United States Code, for the resolution of Debtor’s outstanding Creditor Claims and Equity
interests -

ARTICLE I.
SUMMARY OF THIS PLAN

l.l. Capitalized terms used in the Plan are as defined in Article 2, the Def`mitions,
Construction and Interpretation portion of this Plan

l.2. This Plan provides for the treatment of all Claims in a manner that is in the best
interests of Creditors and is fair and equitable lt calls for the orderly sale and liquidation of
Debtor’s business operations and its assets and the use of sale proceeds and funds on hand to pay
allowed claims under the terms and conditions set out herein

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ARTICLE II.

DEFINITIONS CONSTRUCTION AND INTERPRETATION

 

As used in the Plan, the following terms shall have the meanings specified below.

2.1. Acceptance: has the meaning contained in Section 1126 of the Bankruptcy Code,
ll U.S.C. § 1126, and requires that the holders of a class of Claims against the Debtor accept this
Plan by at least two-thirds in amount and more than one-half in number of such class of Claims or
two-thirds in amount of those Claims or interests actually voting in connection with this Plan

2.2. Administrative Exp_ense: Any cost or expense of administration of the Chapter 11
Case incurred on or before the Confirmation Date entitled to priority under section 507(a) and
allowed under section 503(b) of the Bankruptcy Code, unless otherwise provided in this Plan,
including any actual and necessary expenses of preserving the Debtor’s estate, including wages,
salaries or commissions for services rendered after the commencement of the Chapter ll Case,
certain taxes, fines and penalties any actual and necessary expenses of operating the business of
the Debtor, any indebtedness or obligations incurred by or assessed against the Debtor in
connection with the conduct of its business, or for the acquisition or lease of property or for
provision of services to the Debtor, including all allowances of compensation or reimbursement
of expenses to the extent allowed by the Bankruptcy Court under the Bankruptcy Code, and any
fees or charges assessed against the Debtor’s estate under chapter 123, title 28, United States
Code, and shall further include all fees due to the Office of the United States Trustee both pre-and

post-confirmation

2.3. Ad Valorem Tax Claim: consists of a claim(s) of taxing authorities for ad valorem
property taxes which are secured by virtue of TEX. PROP. TAX CODE § 32.01, et seq.

2.4. Adversa_ry shall mean and refer to any Adversary Proceeding filed and or pending
before the United States Bankruptcy Court for the Western District of Texas.

2.5 Allowed: When used in connection with a Claim, any Claim against or Equity
lnterest in the Debtor, proof of which was filed on or before the last date designated by the
Bankruptcy Court as the last date for filing proofs of Claim or Equity lnterest or such other
applicable date as ordered by the Bankruptcy Court or permitted by the Bankruptcy Rules; or, if
no proof of Claim or Equity interest is filed, any Claim against or Equity lnterest in the Debtor
which has been or in the future is listed by the Debtor as liquidated in amount and not disputed or
contingent and a Claim or Equity lnterest as to which no objection to the allowance thereof has
been interposed; or, in the case of Administ.rative Expense Claim recognized as such by the
Debtor, such Claim or Equity lnterest has been allowed in whole or in part by a Final Order.
Unless otherwise specified in the Plan, “Allowed Claim” shall not, for the purposes of
computation or Distributions under the Plan, include post-petition interest on the amount of the
Claim.

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2.6. Assumed Agreements: All executory contracts and unexpired leases of the Debtor,
which have not been or are subsequently rejected

2.7. Bankruptcy Code; The Bankruptcy Reforrn Act of 1978, as amended, title 11,
United States Code, as applicable to this Chapter ll case.

2.8. Bankruptcy Court; The United States Bankruptcy Court for the Western District
of Texas, San Antonio Division, having jurisdiction over the Chapter 11 Case, or in the event
such court ceases to exercise jurisdiction over the Chapter ll Case, such court or adjunct thereof
that exercises jurisdiction over the Chapter ll Case in lieu of the United States Bankruptcy Court
for the Western District of Texas, San Antonio Division.

2.9. Bankruptcy Rules: The Federal Rules of Bankruptcy Procedure, as amended, and
the local rules of the Bankruptcy Court, as applicable to this Chapter ll Case,

2.10. Bar Date: The final date for filing proofs of Claims or Equity lnterests in this case
as established by order of the Bankruptcy Court.

2.11. H(;J_a_s_h: Cash, cash equivalents and other readily marketable securities or
instruments issued by a Person other than a Debtor, including readily marketable direct
obligations of the United States of America, certificates of deposit issued by banks and
commercial paper of any entity, including interest accrued or earned thereon

2.12. Chapter 11 Case; This case under Chapter ll of the Bankruptcy Code.

2.l3. Claim: Any right to payment from the Debtor arising at any time before the
Effective Date, whether or not the right is reduced to judgment, liquidated, unliquidated, fixed,
contingent, matured, unmatured, disputed, undisputed, legal, equitable, secured or unsecured; or
any right to any equitable remedy for future performance if the applicable breach gives rise to a
right of payment from any of the Debtor, whether or not the right to an equitable remedy is
reduced to judgment, fixed, contingent, matured, unmatured, disputedJ undisputed, secured or

unsecuredl

2.14. Code; The-United States Bankruptcy Code, being Title ll of the United States
Code, as enacted in 1978, and thereafter amended

2.15. Committee: The Official Committee of Unsecured Creditors appointed by the
United States Trustee in this proceeding

2.16. Confirmation: The date upon which the Bankruptcy Court enters the Confirmation
Order to confirm the Plan which becomes final and non-appealable after hearing conducted
pursuant to Section 1129 of the Bankruptcy Code.

2.1'7. Confirmation Date: The date on which the Bankruptcy Court enters the
Confirmation Order.

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2,18. Confirmation Order: A Final Order of the Bankruptcy Court confirming the Plan
in accordance with the provisions of Chapter ll of the Bankruptcy Code.

2.19. Contingent Claim: A Claim arising from a contract or agreement where the Debtor
agreed to be contingently liable for or guaranteed the obligations of a person or entity_

2.20. Creditor: Any person that holds a Claim against the Debtor that arose on or before
the Effective Date, or a Claim against the Debtor of any kind specified in sections 502(f), 502(g),
SOZ(h) or 502(1) of the Bankruptcy Code.

 

2.21. Creditor Trust means that certain trust established pursuant to this Plan and the
Creditor Trust Agreement for the purposes, inter alia, of prosecuting or otherwise recovering,
developing, and liquidating Assets of the Estate, resolving certain Claims and causes of action of
the Debtor, and making distributions to holders of Allowed Claims and, if applicable, holders of
Allowed interests in accordance with the Plan

2.22. Creditor Trust Agreement means that certain trust agreement to be entered into
pursuant to the Plan, under which the Creditor Trust will be established A true and correct copy
of the Creditor Trust Agreement is attached hereto as Exhibit A.

2.23. Creditor Trustee means the person appointed by the Committee as Creditor Trustee
pursuant to this Plan of the terms of the Creditor Trust Agreement.

2.24. Debtor: shall mean Primera Energy, LLC, the Debtor herein

2.25. Disclosure Statement: The Disclosure Statement under ll U.S.C. § l125, filed by
the Trustee in connection with this Plan, and as thereafter amended

2.26. Disputed Claim: A Claim against the Debtor (a) as to which an objection has been
filed on or before the deadline for objecting to a Claim by the Debtor or any party in interest and
which objection has not been withdrawn or resolved by entry of a Final Order, (b) a Claim that
has been asserted in an amount greater than that listed in the Schedules as liquidated in an amount
and not disputed or contingent, or (c) that the Schedules list as contingent, unliquidated or
disputed A claim shall nor be considered a Disputed Claim if such claim has previously been
allowed by order of the Bankruptcy Court.

2.27. Disputed Claims Reserve: A segregated account to be held in trust by the Trustee
for the benefit of holders of Disputed Claims in accordance with the provisions of the Plan

2.28. Distribution: The property required by the Plan to be distributed to the holders of
Allowed Claims

2.29. Effective Date: shall mean and occur on the later of the thirtieth (3 Oth) day after
entry of the Confirmation Order, unless the effectiveness of the Confirmation Order has been

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stayed or vacated by a court of appropriate jurisdiction, in which case the Effective Date shall be
the later of the 30th day after the entry of the Confirmation Order or such date thereafter when
any stay of the effectiveness of the Confirmation Order has expired or otherwise terrninated..

2.30. Final Order: An order of the Bankruptcy Court as to which the time for appeal,
review, certiorari proceeding, or other proceeding for review or rehearing has expired, or, if such
an appeal has been filed, as to which no stay pending such appeal has been obtained

2.31. Fully Secured Claim: A Claim secured by a lien on property whose value exceeds
the Allowed amount of that Claim pursuant to Section 506(a) of the Bankruptcy Code.

2.32. General Unsecured Claims: shall mean an Unsecured Claim as defined in Article
ll herein

2.33. lnsider:r shall have the meaning given such term under the provisions of the Code
and shall include any present or past owners of interests, memberships or stock in the Debtor.

2.34. lnterest Owner: Any ownership interest in the Debtor.

2.35. lnvestor: Any Person who contracted with Debtor to obtain a beneficial interest in
any oil or gas lease or property.

2.36. Lien: Any charge against or interest in property to secure payment of a debt or
performance of an obligation, and includes, without limitation, any judicial lien, security interest,
mortgage, deed of trust, and statutory lien as defined in Section lOl of the Code..

2.37. Person: An individual, a corporation, a limited liability company, a partnership, an
association, a joint stock company, a joint venture, an estate, a trust, an unincorporated
association or organization, a government or any agency or subdivision thereof or any other

entity.

 

2.38. Petition Date: The date on which the Debtor filed its voluntary chapter ll petition,
being June 3,2015.

2.39. Plan: This Plan of Reorganization under Chapter ll of the United States
Bankruptcy Code, either in its present form, including exhibits, or as it rnay be altered, amended,
or modified from time to time.

2.40. Plan Administration Committee: The Plan Administration Committee (“PAC”)
created in the Creditor Trust Agreement consisting of no more than three (3) creditors from the
existing Committee of Unsecured Creditors to be selected by the Committee of Unsecured
Creditors and disclosed at the hearing on Confirmation

2.41. Plan Participants: Trustee, his employees and advising professionals

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2.42. Priority Claim: Any Claim (other than an Adrninistrative Expense Claim or Ad
Valorem Tax Claim) to the extent entitled to priority in payment under section 507(a) of the
Bankruptcy Code including, but not limited to, a Claim of an employee of a Debtor for wages,
salaries, or commissions, including vacation, severance or sick leave pay, earned before the
Petition Date (to the extent of $12,475 per employee) and governmental tax claims afforded
priority under section 507(a) of the Bankruptcy Code (other than Ad Valorem Tax Claims).

2.43. Proper_ty: shall mean any personal or real property, tangible or intangible, in
which the Debtor owns any interest or rights other than cash, notes receivable, claims or causes of

action, judgments or avoidance actionsl
2.44. Proponent: shall mean the Trustee..

2.45. Pro Rata: Proportionately, based on the percentage amount of the distribution
made on account of a particular Allowed Claim and the distributions made on account of all
Allowed Claims of the Class in which the particular Allowed Claim is included

2.46. Sale Proceeds: Those funds received from a sale of any Property.

2.47. Schedules: The Schedules of Assets and Liabilities, Statement of liinancial Affairs
and Statement of Executory Contracts, as each may be amended, filed by the Trustee for the
Debtor with the Bankruptcy Court in accordance with section 521(1) of the Bankruptcy Code.

2.48. Secured Claim: A Claim to the extent of the value, as determined by the
Bankruptcy Court pursuant to section 506(a) of the Bankruptcy Code, of any interest in property
of the Debtor’s estate securing such Claim. To the extent that the Value of such interest is less
than the amount of the Claim which has the benefit of such security, such Claim is an Unsecured
Deficiency Claim unless, in any such case, the class of which such Claim is a part makes a valid
and timely election under section llll(b) of the Bankruptcy Code to have such Claim treated as a
Secured Claim to the extent allowed

2.49. Tax Claim: Claims of the kind specified in Section 507(a)(8) of the Code.

2.50. Unsecured Claim: This class consists of all Allowed Claims held by any creditor
of the Debtor who holds no lien rights or other rights against specific property of the Debtor
securing the payment of their claim, an Unsecured Deficiency Claim as defined herein, claims
which are not entitled to priority pursuant to ll U.S.C. § 507, and any claims arising from the
Debtor’s rejection of executory contracts

2.51. Unsecured Deficiency Claim: A Claim by a Creditor arising out of the same
transaction as a Secured Claim to the extent that the value, as determined by the Bankruptcy
Court pursuant to section 506(a) of the Bankruptcy Code, of such Creditor’s interest in property
of the Debtor’s estate securing such Claim is less than the amount of the Claim Which has the
benefit of such security as provided by section 506(a) of the Bankruptcy Code, unless, in any
such case, the class of which such Claim is a part makes a valid and timely election under section

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llll(b) of the Bankruptcy Code to have such Claim treated as a secured claim to the extent
allowed

2.52. The words “herein,” “hereof” and “hereunder” and other words of similar import
refer to this Plan as a whole and not to any particular section, subsection or clause contained in
this Plan, unless the context requires otherwise Whenever from the context it appears
appropriate, each term stated in either the singular or the plural includes both the singular and the
plural, and pronouns stated in the masculine, feminine or neuter gender include each of the
masculine, feminine and the neuter genders. The section headings contained in the Plan are for
reference purposes only and shall not affect in any way the meaning or interpretation of the Plan.
ln this Plan, “including” means “including without limitation”.

2.53. A term used in this Plan, not defined in this Plan and defined in the Bankruptcy
Code has the meaning assigned to it in the Bankruptcy Code. A term used in this Plan, not
defined in this Plan, not defined in the Bankruptcy Code and defined in the Bankruptcy Rules has
the meaning assigned to it in the Bankruptcy Rules

ARTICLE III.

CLASSIFICATION OF CLAIMS AND EQUITY INTERESTS

Claims and Equity lnterests of the Debtor are classified as fcllows:

3,1. Class 1: ALLOWED PRIORITY CLAIMS. This class consists of the Allowed
Priority Claims as those terms are defined in Article ll hereinabove, other than Allowed Claims
for Adrninistrative Expense or Ad V`alorem Tax Claims.

3.2. Class 2: ALLOWED AD VALOREM TAX CLAIMS. This class consists of the
Allowed Ad Valorern Tax Claims as those terms are defined in Article ll hereinabove

3.3. Class 3: Allowed Secured Claims of Holders of Valid Mineral Liens

§McMullen Coungj, Texas}. This class consists of the Allowed Secured Claims of the
creditors who timely filed and perfected mineral liens pursuant to Chapter 56, Texas Property
Code, against the Debtor's oil, gas and mineral lien interests in Mcl\/lullen County, Texas.

3.4. Class 4: Allowed Secured Claims of Holders of Valid Mineral Liens
(Gonzales Countv. Texas). This class consists of the Allowed Secured Claims of the creditors
who timely filed and perfected mineral liens pursuant to Chapter 56, Texas Property Code,
against the Debtor's oil, gas and mineral lien interests in Gonzales County, Texas.

3.5. Class 52 ALLowEI) CLAIMS or AssUMEl) EXECUTORY CONTRACT on LEASE
CLAIMANTS. This class consists of the Allowed Claims of all persons holding executory
contracts and/ or lease agreements with the Debtor which were assumed or assumed and modified
by the Debtor including the Assumed Leases.

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3.6. Class 6: ALLowEI) GENERAL UNsEcURED CREDITORS CLAIMS . This class
consists of all Allowed General Unsecured Claims as those terms are defined in Article ll
hereinabove

3.7. Class 7: Allowed lnvestor Claims: This class consists of all Allowed Claims
filed by any Person arising from an investment in any one or more oil and gas venture involving
the Debtor.

3.8. Class 8: ALLOWED CLAIMs or INTEREST OWNERS. This class consists of all
Allowecl Claims of lnterest Owners in the Debtor.

ARTICLE IV.

UNCLASSIFIED CLAIMS

4.1. Administrative Claims.

(a) Time for Filing Administrative Claims. Subject to subsection (b)
hereafter, the Holder of any Administrative Claim that is incurred, accrued, or in existence prior
to the Effective Date, must file with the Bankruptcy Court and serve on all parties required to
receive such notice a request for allowance of such Administrative Claim on or before thirty (3 O)
days after the Effective Date. Such request must include at a minimum (i) the name of the holder
of the Claim, (ii) the amount of the Claim, and (iii) the basis for the Claim. F ailure to timely and
properly file and serve the request required under this section shall result in the Administrative
Claim being forever barred and discharged Objections to such requests must be filed and served
pursuant to the Bankruptcy Rules on the requesting party, the Proponents, and the Creditor
Trustee within twenty one (21) days afer the filing of the applicable request for payment of an
Administrative Claim.

(b) Tirne for Filing Fee Claims, Each professional who holds or asserts an
Administrative Claim for compensation for services rendered and reimbursement of expenses
incurred prior to the Effective Date shall be required to file with the Bankruptyc Court and serve
on all parties required to receive such notice an application for allowance of such Claim within
forty-five (45) days after the Effective Date Failure to timely file and properly file an applicatoin
as required under this section shall result in the Adrninistrative Claim being forever barred and
discharged No such claim will be deemed Allowed until an order allowing the Claim becomes a
Final Order. Obj ections to such applications must be filed and served pursuant to the Bankruptcy
Rules on the requesting party, the Proponents, and the Creditor Trustee within twenty (20) days
afer the filing of the applicable request for payment of an Administrative Claim.

(c) Payment of Allowed Admim`strative Claims. Except to the extent that a
holder of an Allowed Administrative Claim has been paid prior to the Effective Date, or agrees to
a different treatrnent, each holder of an Allowed Administrative Claim shall receive, in full
satisfaction, release and discharge of and exchange for such Administrative Claim, and after the

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application of any retainer held by such holder, Cash from the Debtor or Creditor Trust equal to
the Allowed amount of such Claim.

(d) Secured Administrative Expense Claims. Secured claims arising from the
provision of post-petition goods or services shall be paid from the proceeds of sale of the oil and
gas leasehold interest against which the lien attaches prior to the payment of any other secured
claim save and except applicable ad valorem tax liens and such payment shall constitute a release
of the lien upon payment

(e) The Creditor Trust shall hold a reserve in the amount of not less than the
total of the then timely filed and unpaid administrative expense claims following the
Confirmation Date. This reserve shall be used by the Trustee to pay any administrative
obligations ultimately Allowed. Upon payment of all Allowed Addministrative Claims, any
funds remaining in this reserve account shall be used for the payment of other Allowed Claims in
accordance with the priority established in this Plan.

4.2. U. S. Trustee Fees. The Debtor or Creditor Trust shall be responsible for timely
payment of United States Trustee quarterly fees incurred pursuant to 28 U.S.C. § l930(a)(6). Any
fees due as of the most recent quarterly invoice prior to the Confirmation Date will be paid in full
within thirty (3 0) days after the Effective Date After the Effective Date, the Creditor Trust shall
pay the United States Trustee quarterly fees as they accrue until the Bankruptcy Case is closed

ARTICLE V.

IDENTIFICATION OF CLAIMS AN])
E§ )UITY INTERESTS IMPAIREI) BY ']_`HE PLAN

5. l. Unimpaired Classes: Classes l, 2 and 5 are not impaired classes under the Plan
and are not entitled to vote to accept or reject the Plan.

5.2. linnaired Classes to Vote on Plan: The Claims and lnterests specified in Classes 3,
4, 6, 7 and 8 are impaired and are entitled to vote to accept or reject the Plan.

5.3. Controversy Concerning impairment ln the event of a controversy as to whether

any Claim or Equity lnterest or class of Claims or Equity lnterests is impaired under the Plan, the
Bankruptcy Court shall, after notice and a hearing, determine the controversy

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ARTICLE VI.

PROVISIONS FOR TREATMENT OF
ALLOWED PRIORITY CLAIMS §CLASS 11

6.l. Full Payment: Unless otherwise provided herein, the holder of a Class l Allowed
Priority Claim shall be paid in full on the later of the Effective Date or the due date after final
court approval (if required by law), or paid on other agreed terms

6.2. lrnpairment: Priority Claims in Class l are not impaired under the Plan.
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PRovrsroNs ron TREAT`MENT or
ALLOWED Ai) vALoREM TAX CLArMs (CLAss 21

7.1. Ad Valorem lax Claims: The Class 2 Ad Valorem Tax Claims which are secured
by virtue of TEX. PROP. TAX CODE § 32.01, et. seq., shall retain their liens against the property of
the Debtor, including any liens for real estate or personal property taxes accruing after the filing
of this bankruptcy for tax years through and ending on December 31, 2015, until payment in full
of the applicable tax years. Each Allowed Ad Valorem Tax Claim shall be paid in full upon
Closing of a sale of the respective Property. Such liens shall be fully satisfied at Closing for any
taxes that are due but the taxes shall be pro-rated for any ad valorem taxes against the Property
that are not yet due and payable Ad Valorem Taxes assessed for the year 2016 and each
subsequent year thereafter are to be timely paid when otherwise due and are subject to state court
collection without recourse to the Bankruptcy Court after continuation of this Plan.

7.2. lmpairment: 'l`he Class 2 Claims are not impaired under the Plan.
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PROVISIONS FOR THE TREATMENT OF ALLOWED
SECURED CLAIMS OF HOLDERS OF VALID MINERAL LIENS
cMullen Coun Texas CLASS 3

8.1. Allowed Secured Claims of Holders of Valid Mineral Liens (l\/lcl\/lullen County=
Texas}. This class consists of the Allowed Secured Claims of the creditors who timely filed and

perfected mineral liens under Chapter 56, Texas Property Code, against the oil, gas and mineral
leases of the Debtor in McMullen County, Texas.

8.2. Treatment: (A) The property securing these claims was or will be sold during

the administration of the Bankruptcy proceeding following motion, notice and entry of an order
from the U. S. Bankruptcy Court. The liens of Allowed Class 3 Claims attach to the proceeds of

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sale and the claims will be paid in full from such funds to the extent funds are available ln the
event the funds are not sufficient to pay all such allowed lien claims in full, they will be paid pro-
rata to the extent of such funds. ln the event the proceeds exceed the total of all unpaid allowed
lien claims, the funds in excess shall be used utilized to pay other Allowed Claims pursuant to
this Plan.

(B) ln the event net proceeds from the sale of the Debtor’s Mcl\/lullen County, Texas,
properties are insufficient to pay the Class 3 Claims in full, the provisions of Article XlV herein

shall apply.

© To the extent not paid pursuant to (A) or (B) herein, the unpaid balance of such claims
shall be treated as Class 6 Unsecured Claims.

8.3. Impairment. The holders of Class 3 Claims are impaired under the Plan.

ARTICLE IX.

PROVISIONS FOR THE TREATMENT OF ALLOWED
SECURED CLAIMS OF HOLDERS OF VALII) MINERAL LIENS

!Gonzales County, Texas} §CLASS 41

9.1. Allowed Secured Claims of Holders of Valid Mineral Liens (Gonzales Countv.
Texas 1. `This class consists of the Allowed Secured Claims of the creditors who timely filed and
perfected mineral liens under Chapter 56, Texas Property Code, against the oil, gas and mineral
leases of the Debtor in Gonzales County, 'lexas.

9.2. Treatment: (A) The property securing these claims was or will be sold during
the administration of the Bankruptcy proceeding following motion, notice and entry of an order
from the U. S. Bankruptcy Court. The liens of Allowed Class 4 Claims attach to the proceeds of
sale and the claims will be paid in full from such funds to the extent funds are available ln the
event the funds are not sufficient to pay all such allowed lien claims in full, they will be paid pro-
rata to the extent of such funds. ln the event the proceeds exceed the total of all unpaid allowed
lien claims, the funds in excess shall be used utilized to pay other Allowed Claims pursuant to
this Plan.

(B) ln the event net proceeds from the sale of the Debtor’s Gonzales County, Texas,
properties are insufficient to pay the Class 4 Claims in full, the provisions of Article XIV herein

shall apply.

© To the extent not paid pursuant to (A) or (B) herein, the unpaid balance of such claims
shall be treated as Class 6 Unsecured Claims.

9.3. lmpairrnent. The holders of Class 4 Claims are impaired under the Plan.

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PROVISIONS FOR TREATMENT OF
ASSUMED EXECUTORY CONTRACT OR LEASE CLAIMANTS (CLASS 51

lO.l. Allowed Claims of Assumed Executo;y Contract or Lease Claimants. This class
consists of the Aliowed Claims of all persons holding executory contracts and/or lease

agreements with the Debtor which were assumed or are assumed at Confirmation by the Debtor.

10.2. Treatment: Class 5 claims for Assurned Executory Contracts or Unexpired Leases.
shall be paid in accordance with the terms and conditions of each lease agreement, as modified,
with Bankruptcy Court approval, or as set out herein. However, unless otherwise agreed by the
Debtor and the counter party to any Assumed Agreement as more fully set out herein,

(a) all cure payments that may be required by section 365(b)(l) of the Bankruptcy
Code shall be made on or before the Effective Date, and

(b) in the event of a dispute regarding the amount or timing of any cure payments, the
ability of Reorganized Debtor to negotiate for and accept adequate assurance of future
performance or any other matter pertaining to assumption, the dispute shall be resolved by
the Bankruptcy Court and Reorganized Debtor shall negotiate for adequate assurance of
future performance, if any, and accept such assurance as may be negotiated and or
required by the Final Order resolving such dispute on the tenns and conditions of such
Final Order.

10.3. Rejection of Executory Contracts and Unexp_ired Leases: As of the Effective Date,

all Executory Contracts and Unexpired Leases of the Debtor not assumed herein, previously
assumed or subject to pending motions to assume are rejected by the Debtor in accordance with
section 365 of the Bankruptcy Code. The executory contracts and/or unexpired leases which are
assumed, include, but are not limited to, all joint operating agreements to which Debtor is a party
for which the purchaser of Debtor’s interest in that property agrees to pay any cure claims
required for assumptionl

10.4. Claims Based on Reiection of Executorv Contracts and Unexr)ired Leases: All
proofs of claim with respect to Claims arising from the rejection of an executory contract or
unexpired lease shall be filed with the Bankruptcy Court within thirty (3 0) days after the earlier of
(a) the date of entry of an order of the Bankruptcy Court approving the rejection, or (b) the
Effective Date. Any Claims not filed within such times shall be forever barred from assertion
against the Debtor, its estate or their property. Such rejection claims if allowed shall be treated as
Allowed Class ll Claims.

10.5. lmpairment: The Class 5 claims are not impaired under the Plan.

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ARTICLE XI

PROVISIONS FOR THE TREATMENT OF
ALLOWED GENERAL UNSECURED CLAIMS 1CLASS 61

ll.l. Allowed General Unsecured Claims. This class consists of all Allowed General
Unsecured Claims as those terms are defined in Article ll herein above.

ll.2. Treatrnent: The holders of Allowed Class 6 Claims shall receive up to the full
amount of their Allowed Claims, pro rata, from any net proceeds held, received, or recovered by
the Debtor’s estate and/or the Creditor Trust, AFTER payment in full of all Unclassified Claims
and All Allowed Class l, 2, 3, 4 and 5 Claims.

11.3. hnpairment: The Class 6 Claims are impaired under the Plan.
ARTICLE XII

PROVISIONS FOR THE TREATMENT OF
ALLOWED INVESTOR CLAIMS 1CLASS 71

12.1. Allowed lnvestor Claims. This class consists of all Allowed Claims filed by any
Person arising from an investment in any one or more oil and gas venture involving the Debtor.

122 Treatment. Subject to the provisions of Article XIV herein, the holders of
Allowed Class 7 Claims shall receive up to the full amount of their Allowed Claims, pro rata,

frorn any net proceeds held, received, or recovered by the Debtor’s estate andfor the Creditor
Trust, AFTER payment in full of all Unclassified Claims and All Allowed Class l, 2, 3, 4, 5 and 6

Claims.
12.3. lmp_airment: The Class 7 Claims are impaired under the Plan.
ARTICLE XIII.

PROVISIONS FOR ’I`HE TREATMENT OF
ALLOWED CLAIMS OF INTEREST OWNERS (CLASS 8)

13.1. interests This class consists of all Allowed Claims of lnterest Owners in the
Debtor.

13.2. Treatnient: The holders of Allowed Class 8 Claims shall receive nothing of value.

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INVESTOR CONTRIBUTIONS OR ACTIONS

Upon the closing of a sale or transfer of any of the oil and gas leases of the Debtor, and
after a determination of the amount of net sale proceeds received from each respective property, if
the respective net sales proceeds are not sufficient to pay the Allowed Class 3 or Class 4 Claims
in full (respectively), the Trustee, or Creditor Trustee (as appropriate) shall request payment from
the lnvestors in each property as set out herein:

l. Only the lnvestors in a property for which the net sales proceeds are insufficient to
pay all Allowed Secured Claims secured by that property shall be subject to payment requests;

2. The requests shall be made property by property and there are no cross property
obligations;

3. Each lnvestor shall be requested to pay an amount equal to the net amount required
to pay such deficiency amount multiplied by their proportionate investor ownership interest
claimed For example, each investor would be requested to pay the same amount they would
have owed under an Authorization for Expenditure under normal oil and gas accounting practicesl

4. Payment on the request would be due on or before 30 days following the mailing of
the request to the address for the investor as reflected in the Debtor’s books and recordsl

5. ln the event any lnvestor timely pays all amounts requested under this provision,
such investor shall have no further obligations to the Debtor’s estate nor the Creditor Trust andJ if
otherwise valid, shall retain any Allowed Class 7 Claim they hold.

6. in the event any investor fails to timely pay all amounts requested under this
provision, such lnvestor shall remain liable for all amounts and claims which may or could be
asserted against them by virtue of the investment documents they executed, shall retain any
defenses to same, and shall have any Class 7 Claim asserted by them disallowed without further
action by the Court. The Trustee, Creditor Trustee, or any holder of an unpaid Allowed Class 3
or 4 Claim shall retain and is authorized to enforce any claim or action they may hold against any
lnvestor who fails to pay all requested amounts and such claims are not limited by any provision
herein.

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ARTICLE XV
MEANS FOR EXECUTION OF THE PLAN

15.1. Sale of Propegy. This Plan contemplates that Trustee will sell the Property in a
reasonable manner and use best efforts to obtain the highest price and consideration possible for
such sale. The sale shall be conducted in accordance with a Motion to Sell Under ll U.S.C. §
363 when and if granted by the Bankruptcy Court.

15.2. litigation Claims. All claims and causes of action, whether now pending or
asserted or not, shall be retained and pursued to the extent reasonable and all net recoveries from

such actions shall be subject to this Plan.

15.3. investor Claims. Debtor is a party to agreements with each Investor in the oil
and gas properties These agreements give the Debtor, and others, certain rights and
responsibilities These include an obligation to pay the costs incurred in connection with the
wells invested in. Subject to Article XIV herein, Debtor and/or the Creditor Trust shall retain the
right to seek enforcement of these agreements

15.4. Vesting of Assets. The Property, claims, causes of action, and assets of the
Debtor’s bankruptcy estate shall be transferred to and vest in the Creditor Trust on the Effective
Date free and clear of all Clairns, but subject to the obligations set forth in this Plan.

15.5, Distributionsl The Creditor Trust may distribute available funds in accordance
with the Plan.

15.6. Creditor Trust.

A. On the Effective Date the Creditor Trustee shall execute the Creditor Trust
Agreement as approved by the Bankruptcy Court and the Primera Creditor Trust shall be formed

B. Except as otherwise provided herein, the Creditor Trustee (in his capacity as Creditor
Trustee and not in his individual capacity) shall assume liability for and the obligations to make
the distributions required to be made under the Plan and the Creditor Trust Agreement, but shall
not otherwise assume liabilities of the Debtor.

C. The Court shall create the Creditors Trust and the Committee shall designate the
initial Creditor Trustee for the purpose of receiving title to all Property and assets and funds the
Debtor transfers to the Creditor Trust, including but not limited to, and except as provided in this
Plan, all interests in real and personal property, any and all claims and causes of action, rights,
claims, and demands against any third parties, investors, individuals, or insiders, that the Debtor
owns or has an interest in or can ascertain any fashion, whether pre-petition or post-petition,
including but not limited to actions under sections 5 44 through 550 of the Bankruptcy Code, to

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recover assets for the Creditor Trust and the benefit of the Creditors, and any other consideration
to be received by the Creditors pursuant to the terms of the Plan.

D. The Creditor Trustee shall have all the power and authority to perform any acts set
out in the Trust Agreement or allowed to a Trustee under the Texas Trust Act.

E. The Creditor Trustee shall not be liable for actions taken or omitted in his capacity as
the Creditor Trustee, except those acts arising out of his own fraud or willful misconduct The
Creditor Trustee shall be entitled to indemnification and reimbursement for all losses, fees, and
expenses in defending any and all of his actions or inactions in his capacity as the Creditor
Trustee Any indemnification claim of the Creditor Trustee shall be satisfied from the assets of

the Creditor Trust.

F. The Creditor Trust shall become effective upon the Effective Date. Thereafter, the
Creditor Trust shall remain and continue in full force and effect until the Property has been
wholly converted to Cash or abandoned and all costs, expenses and obligations incurred in
administering the Creditor Trust have been fully paid and all remaining income and proceeds of
the Trust Property have been distributed in payment of Allowed Claims and, if applicable,
Allowed lnterests pursuant to the provisions of the Plan. The Creditor Trust will terminate at the
end of five years from the Effective Date; provided, that upon complete liquidation of the Trust
Property and satisfaction as far as possible of all remaining obligations liabilities and expenses of
the Creditor Trust pursuant to the Plan prior to such date, the Creditor Trustee may, with approval
of the Bankruptcy Court, sooner terminate the Creditor Trust; and provided further, that prior to
the end of five years from the Effective Date the Creditor Trustee or any beneficiary of the
Creditor Trust may move the Bankruptcy Court to extend the termination date of the Creditor
Trust after notice to interested parties and an opportunity for hearing Upon termination of the
Creditor Trust, the Creditor Trustee will be forever discharged and released from all powers,
duties, responsibilities and liabilities pursuant to the Creditor Trust.

G. The Creditor Trust will have the right to retain the services of attorneys accountants
and other agents that, in the discretion of the Creditor Trustee, are necessary to assist the Creditor
Trust in the performance of its duties The fees and expenses of such professionals will be paid
by the Creditor Trust in the ordinary course of business and will not be subject to the approval of
the Bankruptcy Court. The Creditor Trustee shall be entitled to compensation for his services at
a rate not to exceed $500 per hour and for reimbursement of expenses which shall be paid by the
Creditor Trust in the ordinary course of business and will not be subject to the approval of the
Bankruptcy Court.

H. The Creditor Trust to be established for the benefit of Creditors is intended to
qualify as a liquidating trust for federal income tax purposes All items of income, deduction,
credit or loss of the Creditor Trust shall be allocated for federal, state and local income tax
purposes among the Holders of Allowed Claims and lnterests

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I. The Plan Administration Committee (“PAC”) shall be created in and as set out in the
Creditor Trust Agreement The members of the Committee shall be the initial members of the
PAC. The PAC shall have standing as a party in interest to enforce the terms and provisions of
the Creditor Trust Agreement and this Plan. The PAC may take action by majority vote of its
members The PAC shall have the authority to retain counsel if necessary to resolve a dispute
with the Trustee and the reasonable fees and expenses of such counsel shall be a cost of
administration of the Creditor Trust. The members of the PAC shall not be liable for any act done
or omitted to be done as a member of the PAC while acting in good faith and the Creditor Trust
shall indemnity and hold harmless the members of the PAC from and against and in respect to
any and all liabilities, losses, damages, claims, costs and expenses arising out of or due to their
actions or omissions with respect to the Creditor Trust; provided, however that no such
indemnification will be made to such persons for actions or omissions that constitute willful
misconduct, gross negligence or fraud.

ARTICLE XVI
THE CREDITOR TRUST

The Creditor Trust shall exist after the Effective Date with all the powers of a trust under
applicable Texas law. The Creditor Trust shall execute and consummate such assignments,
purchase agreements, bills of sale, operating agreements, conveyance documents and all other
transaction documents, contracts, agreements, and instruments as are necessary to implement and
consummate the transactions required under or in connection with the Plan, on and after the
Effective Date. After the Effective Date, the Creditor Trust will own the Trust Property and shall
have the flexibility to conduct any operations necessary to liquidate the Trust Property and to
enhance or preserve the value of the Trust property consistent with the expeditious and beneficial
liquidation of such property.

ARTICLE XVII.

EFFECT OF REJECTION BY ONE OR MORE CLASSES OF CLAIMS

l7.1. lmpaired Classes to Vote: Each impaired class of Claims and lnterests shall be
entitled to vote separately to accept or reject the Plan. A holder of a Disputed Claim that has not
been temporarily allowed for purposes of voting on the Plan may vote the Disputed Claim in an
amount equal to the portion, if any, of` the Claim shown as fixed, liquidated and undisputed in the
Debtor’s Schedules.

17.2. Acceptance by Class of Creditors: A class shall have accepted the Plan if the Plan
is accepted by at least two-thirds in amount and more than one~half in number of the Allowed

Claims or Equity lnterests of the class that have accepted or rejected the Plan.

17.3. Cramdown: lf any impaired class shall fail to accept this Plan in accordance with
section llZ9(a) of the Bankruptcy Code, the Debtor reserves the right to request the Bankruptcy

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Court to confirm the Plan in accordance with the provisions of section llZ9(b) of the Bankruptcy
Code.

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PROVISIONS FOR RESOLUTION AND TREATMENT OF PREFERENCES,
FRAUDULENT CONVEYANCES ANI) DISPUTED CLAIMS

 

18.1. Preferences and Fraudulent Conveyances: The Debtor, Committee, or the Creditor
Trust, shall be the only parties authorized to object to Claims and to pursue actions to recover
preferences and fraudulent conveyances or any other transaction voidable under Chapter 5 of the
Bankruptcy Code (the “Avoidance Actions”). Unless Debtor or Creditor Trustee consents, or
unless otherwise ordered by the Bankruptcy Court, no other party shall have the right or
obligation to pursue such Avoidance Actions.

18.2, Objections to Claims: The Debtor, Committee, Creditor Trust or any interested
Person shall have the authority to object and contest the allowance of any Claims filed with the
Bankruptcy Court prior to the Effective Date. Claims listed as disputed, contingent or
unliquidated on the Schedules are considered contested or Disputed Claims, except Claims
otherwise treated by the Plan or previously allowed or disallowed by Final Order of the

Bankruptcy Court.

18.3. Disputed Claims Reserve: The Debtor, Committee, Creditor Trust or any
interested Person shall retain the right to litigate Disputed Claims to determine the extent to
which the Disputed Claim should be allowed During the pendency of such litigation, the Debtor
or Creditor Trust shall escrow into a Disputed Claims Reserve such amounts as may be fixed by
agreement, by provisional allowance in the Confirmation Order, or by other order of the
Bankruptcy Court, unless other depository arrangements or terms are directed by order of the
Bankruptcy Court. The Disputed Claims Reserve shall be held in trust by the Debtor for the
benefit of the holders of Disputed Claims pending a determination of entitlement to the Disputed
Claims under the terms of the Plan and for the holders of Allowed Claims whose Distributions are
unclaimed. At such time as a Disputed Claim becomes an Ailowed Claim, that shall be deemed
the Effective Date for purposes of such Claim and the Distributions allowed for such Allowed
Claims shall be released from the Disputed Claims Reserve and delivered to the holder of such
Allowed Claim. If a Disputed Claim is disallowed, the Distributions provided for the Claim shall
be released to the Debtor for distribution to other creditors in accordance with this Plan.

18.4. lnvestment of Funds: All Cash held in the Disputed Claims Reserve and the
reserve established for Admini-strative Expense Claims shall be invested in those investments
described in section 345 of the Bankruptcy Code. The Creditors Trust shall be responsible for the
making of Distributions from the reserves after the Effective Date.

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18.5. Unclaimed Distributions: in the event any Distributions under the Plan remain
unclaimed as of one (l) year after the Effective Date such Distributions shall be released to
Reorganized Debtor and the obligation to make the Distribution deemed fulfilled

ARTICLE XIX.

PROVISIONS FOR RETENTION, ENFORCEMENT, SETTLEMENT, OR
ADJUSTMENT OF CLAIMS BELONGING TO THE ESTATE

l9,l. Causes of Action: All claims recoverable under Chapter 5 of the Bankruptcy
Code, all claims against third parties on account of any indebtedness, and all other claims owed to
or in favor of Debtor to the extent not specifically compromised and released pursuant to this Plan
or an agreement referred to or incorporated herein, shall be preserved and retained for
enforcement by Debtor or Creditors Trust after the Effective Date. In the event of conversion to a
Chapter 7 proceeding, such claims shall be preserved and retained for enforcement by the Chapter
7 Trustee, subject to applicable limitations periods

19.2. Legally Binding Effect; Discharge of Claims and Eguigg lnterests: The provisions

of this Plan shall (a) bind all Creditors and Equity interest holders, whether or not they accept this
Plan, and (b) discharge Debtor from all debts that arose before the Petition Date. In addition, the
distributions of Cash and securities provided for under this Plan shall be in complete satisfaction,
discharge and release of all Claims against and Equity lnterests in Debtor or any of its assets or
properties, including any Claim or Equity lnterest accruing after the Petition Date and before the
Effective Date. On and after the Effective Date, all holders of Claims and Equity lnterests shall
be precluded from asserting any Claim against Reorganized Debtor or its assets or properties
based on any transaction or other activity of any kind that occurred before the Petition Date. The
Distributions provided for Creditors and Equity lnterest holders shall not be subject to any Claim
by another Creditor or Equity lnterest holder by reason of an assertion of a contractual right of

subordination

ARTICLE XX.
RETENTION OF JURISDICTI()N

20.1. lurisdiction: Until this Chapter ll Case is closed, the Bankruptcy Court shall
retain such jurisdiction as is legally permissible, including that necessary to ensure that the
purpose and intent of this Plan are carried out and to hear and determine all Claims set forth
above that could have been brought before the entry of the Confirmation Order. The Bankruptcy
Court shall retain jurisdiction to hear and determine all Claims against Debtor and to enforce all
causes of action that may exist on behalf of Debtor. Nothing contained in this Plan shall prevent _
Reorganized Debtor from taking such action as may be necessary in the enforcement of any cause
of action that may exist on behalf of Debtor and that may not have been enforced or prosecuted

by the Debtor.

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20.2. Examination of Claims: Following the Confirmation DateJ the Bankruptcy Court
shall further retain jurisdiction to decide disputes concerning the classification and allowance of
the Claim of any Creditor and the re-examination of Claims that have been allowed for the
purposes of voting, and the determination of such objections as may be filed to Creditors’ Claims.
The failure by Debtor, Trustee, or Creditor’s Trust to object to, or to examine, any Claims for the
purposes of voting shall not be deemed a waiver of its right to object to, or to re-examine, the
Claim in whole or in part

20.3. Determination of Disputes: The Bankruptcy Court shall retain jurisdiction after
the Confirmation Date to determine all questions and disputes regarding title to the assets of
Debtor’s estate, disputes concerning the allowance of Claims, and determination of all causes of
action, controversies, disputes, or conflicts, whether or not subject to any pending action, as of the
Confirmation Date, for Debtor to recover assets pursuant to the provisions of the Bankruptcy

Code.

20.4. Additional Pm'poses: The Bankruptcy Court shalllretain jurisdiction for the
following additional purposes after the Effective Date:

(a) to modify this Plan after confirmation pursuant to the Bankruptcy Rules
and the Bankruptcy Code;

(b) to assure the performance by Reorganized Debtor of its obligations to make
Distributions under this Plan;

(c) to enforce and interpret the terms and conditions of this flan',

(d) to adjudicate matters arising in this bankruptcy case, including matters
relating to the formulation and consummation of the Plan;

(e) to enter such orders, including injunctions, as are necessary to enforce the
title, rights, and powers of Reorganized Debtor and to impose such limitations, restrictions, terms
and conditions on such title, rights, and powers as this Bankruptcy Court may deem necessary;

(fj to enter an order terminating this Chapter ll Case;

(g) to correct any defect, cure any omission, or reconcile any inconsistency in
this Plan or the order of confirmation as may be necessary to carry out the purposes and intent of
this Plan;

(h) to allow applications for fees and expenses pursuant to section 5 03(b) of
the Bankruptcy Code; and

(l) to decide issues concerning federal tax reporting and withholding which
arise in_ connection with the confirmation or consummation of this Plan.

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DEFAUL'I` UNDER PLAN

21.1. Asserting Default: lf Debtor defaults under the provisions of this Plan (as opposed
to default under the documentation executed in implementing the terms of the Plan, which
documents shall provide independent bases for relief), any Creditor or party in interest desiring to
assert a default shall provide the Debtor with written notice of the alleged default

21.2. Curing Default: Exeept as otherwise set out herein, the Debtor or Trustee shall
have thirty (30) days from receipt of the written notice in which to cure an alleged breach or
default under this Plan, including any default under any Related Document. The notice shall be
delivered by United States certified mail postage prepaid return receipt requested and by
regular, first class mail postage prepaid addressed to the Trustee at the following address or at
such other address as is provided in writing by Trustee:

JAsoN R. SEARCY

Searcy & Searcy, P.C.
P.O. Box 3 929

Longview, Texas 75606
(903) 757-95 59 Facsimile

lf the default is not cured, any Creditor or party in interest may thereafter file with the Bankruptcy
Court and serve upon Trustee a motion to compel compliance with the applicable provision of the
Plan. The Bankruptcy Court, upon finding a material default, shall issue such orders compelling
compliance with the pertinent provisions of the Plan.

ARTICLE .XXII

MISCELLANEOUS PROVISIONS

22.1. Compliance with Tax Reguirements and Limits on Distribution: ln connection
with this Plan, Debtor shall comply with all withholding and reporting requirements imposed by .

federal, state, and local taxing authorities, and Distributions shall be subject to such withholding
and reporting requirements ln particular, but without limitation, no distribution under this Plan
to any creditor or Claim Holder shall be made unless the Reorganized Debtor has sufficient
information to file all lnternal Revenue Service reports required with respect to such payment or
such creditor or Claim l-lolder shall complete and return to the Reorganized Debtor an lnternal
Revenue Service Form W-9 which shall be provided by Reorganized Debtor within a reasonable
time following written request by the creditor or Claim Holder,

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22.2. Amendment of the Plan: This Plan may be amended by the Trustee before or after
the Effective Date as provided in section 1127 of the Bankruptcy Code.

22.3. Revocation of Plan: Debtor reserves the right to revoke and withdraw this Plan at
any time before the Confirmation Date.

22.4. Effect of Withdrawal or Revocation: If Debtor revokes or withdraws this Plan
before the Confirmation Date, or if the Confirmation Date or the Effective Date does not occur,
then this Plan shall be deemed null and void. in such event, nothing contained herein shall be
deemed to constitute a waiver or release of any Claims by or against Debtor or any other person,
or to prejudice in any manner the rights of Debtor or any person in any further proceedings
involving Debtor.

22.5. Due Authorization By Creditors; Each and every Creditor Who elects to
participate in the Distributions provided for herein warrants that it is authorized to accept in
consideration of the Claim against Debtor the Distributions provided for in this Plan and that
there are no outstanding commitments, agreements, or understandings, express or implied, that
may or can in any way defeat or modify the rights conveyed or obligations undertaken by it under
this Plan.

22.6. Filing of Additional Documentation: On or before the Effective Date, Debtor shall
file with the Bankruptcy Court such agreements and other documents as may be necessary or
appropriate to effect and further evidence the terms and conditions of this Plan.

22.7. lmplementation: The Debtor shall be authorized to take all necessary steps, and
perform all necessary acts, to consummate the terms and conditions of the Plan.

22.8. Ratification: The Confirmation Order shall ratify all transactions effected by the
Debtor during the pendency of this Chapter ll Case.

22.9. limitation of Liability in Connection with the Plan, Disclosure Statement and
Related Documents and Related lndemnity:

(a) The Plan Participants shall neither have nor incur any liability to any entity for any
act taken or omitted to be taken in connection with or related to the formulation, preparationJ
dissemination, implementation, confirmation or consummation of the Plan, the Disclosure
Statement, the Confirmation Order or any contract, instrument, release or other agreement or
document created or entered into, or any other act taken or omitted to be taken in connection with
the Plan, the Disclosure Statement or the Confirmation Order, including solicitation of
acceptances of the Plan; provided however, that the provisions of this Section 22.9(a) shall have
no effect on the liability of any Plan Participant that would otherwise result from any such act or
omission to the extent that such act or omission is determined in a Final Order to have constituted
gross negligence or willful misconduct

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(b) The Creditor Trust shall indemnify each Plan Participant, hold each Plan
Participant harmless from, and reimburse each Plan Participant for, any and all losses, costs,
expenses (including attorneys’ fees and expenses), liabilities and damages sustained by a Plan
Participant arising from any liability described in this Section 22.9.

22.10. Termination of Committee: The Committee shall terminate on the later of the
Effective Date or the final termination of any appeal, contested matter or adversary proceeding to
which the Committee is or may become a party. Any claims against the Committee, its members
or professionals for their actions or omissions while serving the Committee shall be released and
waived upon termination of the Committee pursuant to this Plan.

22.11. Section Headings: The section headings used in this Plan are for reference

purposes only and shall not affect in any way the meaning or interpretation of this Plan.

DATED: January 5 , 2016.

Respectfully submitted,
PRIMERA ENERGY, LLC
By: /S/ Jason R. Searcv, Trustee

Jason R. Searcy
Chapter ll Trustee

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TRUST AGREEMENT

FOR THE PRll\/[ERA CREDITORS’ TRUST

 

TRUST AGREEMENT FOR THE
PRIMERA CREDITOR’S TRUS'I`

This Trust Agreement for the Primera Creditor’s Trust (the “Trust Agreement”), is made as
of by and between Primera Energy, LLC (“Primera”), for the benefit of the
Beneiiciaries (as defined below) entitled to the Trust Property (as defined below), and
as the Plan Trustee (the “Plan Trustee”).

___________..)

Recitals

This Trust Agreement is entered into to facilitate implementation of the Plan. Under the
Plan, the Trust Property Will be transferred to the Trust created and evidenced by this Trust
Agreement so that (i) the Trust Property can be held in trust for the benefit of the Beneficiaries as a
liquidating trust in accordance With Treasury Regulation section 301.'7701~4(€1) for the objectives
and purposes set forth in the Plan and this Trust Agreement, (ii) the Claims can be fully resolved,
(iii) Distributions can be made in accordance with the Plan, (iv) the Trust Property can be
liquidated, and (v) administrative services relating to the activities of the Trust and relating to the
implementation of the Plan can be performed by the Plan Trustee. The Plan Trustee Will make
continuing efforts to dispose of the Trust Property, make timely Distributions, and not unduly

prolong the duration of the Trust.

Declaration of Trust

In order to declare the terms and conditions of this Trust Agreement, and in consideration of
the stated premises, the confirmation of the Plan under the Bankruptcy code, and of other good and
valuable consideration, the receipt of which is acknowledged, Primera and the Plan Trustee have
executed this Trust Agreement for the benefit of the respective Beneficiaries entitled to the Trust
Property, and, at the Beneficiaries’ direction (because the transfer of title to undivided interests in
each of the Trust Property to the Beneficiaries, and the transfer of those interests by the

Beneficiaries to the Trust, would be impractical), absolutely and irrevocably assign to the Plan

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Trustee, its heirs, successors, or assigns, all right, title, and interest of in and to the Trust Property
in the form and manner provided for in the Plan:

(i) to have and to hold unto the Plan rl`rustee and its heirs, successors, and assigns:

(ii) in trust under and subject to the terms and conditions set forth in this Trust
Agreement and for the benefit of the Beneficiaries of the Trust (as their respective interest may
appear in accordance with the Plan and this Trust Agreement), and for the performance of and
compliance with the terms of the Plan and this Trust Agreement;

(iii) provided, however, that on termination of the Trust in accordance With Article VIII,
this rl`rust Agreement shall cease, terminate, and be of no further force and effect.

IT IS FURTHER COVENANTED AND DECLAR_ED that the Trust Property is to be held
and distributed by the Plan Trustee subject to the further covenants, terms, and conditions set forth

below.

ARTICLE I

Definitions

1.1 Deflnitions of Terms. All capitalized terms not otherwise defined in this
Trust Agreement have the meanings ascribed to them in the Plan. Any capitalized term used in this
Trust Agreement that is not defined in the Plan have the meaning ascribed to that term in the

Bankruptcy Code or the Bankruptcy Rules, whichever is applicable

1.2 General Rules of Intergretation and Construction. For purposes of this
Trust Agreement, (i) any reference to an existing document or exhibit filed or to be filed means that

document or exhibit as it may have been or may be amended, modified, or supplemented; (ii)
unless otherwise specified, all references to sections, articles, and exhibits are references to
sections, articles, or exhibits to this Trust Agreement; (iii) the Words “herein,” “hereof,” “hereto,”
“hereunder,” and other words of similar import refer to this Trust Agreement in its entirety and not
to any particular portion of this Trust Agreement; (iv) captions and headings contained in this Trust
Agreement are inserted for convenience and reference only, and are not intended to be part of or to

affect the interpretation of this Trust Agreement; (v) wherever appropriate from the context, each

term stated in either the singular or the plural shall include the singular and the plurai, and
pronouns stated in the masculine, feminine, or neuter gender shall include the masculine, feminine,
and neuter gender; and (vi) the rules of construction outlined in Bankruptcy Code section 102 and

in the Bankruptcy Rules shall apply to this Trust Agreement

ARTICLE II
The Trust

2.1 Creation and Name. There is hereby created the Trust, which shall be known as

“Primera Creditors’ Trust”.

2.2 Obiectives and Purnoses. The general purpose of the Trust established under the
Trust Agreement is to provide a mechanism for the liquidation of the Trust Property, and to
distribute the proceeds of the liquidation, net of all Claims, expenses, charges, iiabilities, and
obligations of the Trust, to the holders of Beneficial lnterests and certain Allowed Claims and
Equity lnterests in accordance with the terms of the Plan. The Trust will not conduct or engage in
any trade or business activities, other than those associated with or related to the liquidation of the
Trust Property and the Distributions to the Beneficiaries. lt is intended that the Trust be classified
for federal income tax purposes as a “liquidating trust” within the meaning of Treasury Regulations
sections 301.7701-4(d). ln furtherance of that objective, the Plan Trustee shall make continuing
best efforts to (i) dispose of the Trust Property, (ii) make timely Distributions, and (iii) not unduly
prolong the duration of the Trust, all in accordance with this Trust Agreement The purposes of the
Trust include, but are not limited to the following:

(a) marshaling, liquidating, and distributing the Trust Property in an expeditious
and orderly manner;

(b) performing the functions and taking the actions provided for or permitted by
this Trust Agreement and in any other agreement executed by the Plan Trustee for the Trust
pursuant to the Plan;

(c) prosecuting, settling, or abandoning the Rights of Action and other causes of

action transferred and assigned to the Trust under the Plan as Trust Property and to distribute the

proceeds of any recoveries thereon in accordance with the terms of the Plan and this Trust
Agreement; and

(d) reconciling, objecting to, prosecuting, or settling all Claims and other causes
of action against Primera to determine the appropriate amount of Distributions to then made to the

Beneficiaries under this Trust Agreement

2.3 Acceptance. The Plan Trustee accepts the Trust imposed under the Trust
Agreement, and agrees to observe and perform that Trust, on and subject to the terms and

conditions set forth in the Plan and this Trust Agreement

2.4 Further Assurances. The Debtor (and any heirs, successors, or assigns) will, on
reasonable request of the Plan Trustee, execute, acknowledge, and deliver such further instruments
and do such further acts that may be necessary or proper to transfer to the Plan Trustee any portion
of the Trust Property intended to be conveyed under this Trust Agreement in the form and manner

provided for in the Plan and to vest in the Plan Trustee the powers , instruments, or funds in trust.

2.5 Restrictions on Trust ProDertv. The Trust shall not receive transfers of any listed
stock or securities or any readily marketable assets, or any operating assets of a going business.
Additionally, the Trust shall not receive transfers of any unlisted stock of a single issuer that
represents 80 percent or more of the stock of that issuer, and shall not receive transfers of any

general or limited partnership interests or limited liability company interests, other than those of

Primera.

2.6 Ownership by Plan Trustee. The Plan Trustee shall promptly record or register in
its narne, as Plan Trustee, or in the name or names of any nominee or Person in accordance with
Article IV of this Trust Agreement, ownership of and title to all Trust Property received by it as
Plan Trustee. The Plan Trustee shall also comply with all laws regarding the evidencing of
ownership of and title to any portion of the Trust Property that are necessary and appropriate and

that the Plan Trustee determines are in the best interests of the Trust.

2.7 Incidents of Ownership. The Beneficiaries shall be the sole beneficiaries of the
Trust, and the Plan Trustee shall retain only such incidents of ownership necessary to undertake the

actions and transactions authorized under the Plan or this Trust Agreementl

ARTICLE III
The Plan Trustee

3.1 Nuinber and §!ualifications. Except as otherwise provided in this Trust
Agreement, there shall be one Plan Trustee of the Trust. The Initial Plan Trustee is the Person
nominated by the Creditors Committee of Prirnera and approved by the Bankruptcy Court_in
accordance with the Plan. The Plan Trustee shall not be required to post a fidelity bond or a surety,
but may do so in the Plan Trustee’s sole discretion All costs and expenses of procuring any
fidelity bond or surety shall be paid as a Trust Cost. The Plan Trustee shall be entitled to engage in
such other activities as the Plan Trustee deems appropriate and that are not in conflict with the
interests of the Trust, and the Plan Trustee shall devote such time that is necessary to fulfill all of

its duties as Plan Trustee.

3.2 Action by Plan Trustee. The Trust shall be managed by the Plan Trustee, in

accordance with the provisions set forth in this Agreement

3.3 Binding Nature of Plan Trustee’s Action. All actions taken and determinations
made by the Plan Trustee in accordance with the provisions of the Plan or this Trust Agreement

shall be final and binding on all holders of Beneficial lnterests in the Trust.

l 3.4 Terms of Service. The Plan Trustee shall serve as the Plan Trustee for the duration

of the Trust, subject to earlier death, resignation, or removal.

3.5 Resignation. The Plan Trustee may resign such position only by a written
instrument The Plan Trustee shall designated a successor in Writing with his resignation The Plan

Trustee shall continue to serve as Plan Trustee after the filing of the resignation until the proposed

effective date, which shall be the effective date of appointment of a successor Plan Trustee in
accordance with the applicable provisions of the Plan and this Trust Agreement Any resignation
of the Plan Trustee pursuant to this section shall also automatically constitute a resignation of the
Plan Trustee as the sole officer and manager of the Debtor. Nothing contained in this section shall

restrict the right to remove the Plan Trustee as provided in the Plan or this Trust Agreement

3.6 Removal. The Plan Trustee may be removed from office only for (i) fraud,
willful misconduct, or gross negligence in connection with his duties under the Plan, including the
liquidation of the Debtor and the Trust Property', (ii) a physical or mental disability that
substantially prevents the Plan Trustee nom performing its duties under the Plan; or (iii) cause,
which shall include a breach of fiduciary duty or an unresolved conflict of interest, other than as
specified in the foregoing clauses (i) and (ii). After removal pursuant to this section, the Plan
Trustee shall continue to serve as the Plan Trustee until the effective date of the appointment of a
successor Plan Trustee in accordance with section 3.7.1 of this Trust Agreement Any removal of
the Plan Trustee under this section shall be by order of the Bankruptcy Court, and shall also
automatically constitute a removal of the Plan Trustee as the sole officer and manager of the

Debtor.
3.7 Appointment of Successor Plan Trustee.

3.7.1 Appointment of Successor Plan Trustee. In the event cfa vacancy by
reason of death or removal of the Plan Trustee, any interested person may file a pleading with the
Bankruptcy Court seeking the appointment of a successor Plan Trustee, which shall be appointed
by the Bankruptcy Court (`after notice and a hearing) as soon as practicable, but in any event Within
sixty (60) days after the occurrence of the vacancy or, in the case of resignation, at least thirty (3 0)

days before the effective date of the proposed resignation

3.7.2 Vesting of Rights in Successor Plan Trustee. Every successor Plan
Trustee appointed under this Article shall execute, acknowledgeJ and deliver to the Trust, the Trust

Committee, and the retiring Plan Trustee, if any, an instrument accepting the appointment subject

to the terms and provisions of the Plan and this Trust Agreement. The successor Plan Trustee may,

in its sole discretion, provide a fidelity bond or surety as provided above in section 3. l. The
successor Plan Trustee, without any further act, deed, or conveyance, shall become vested with all
the rights, powers, trusts, and duties of the Plan Trustee, except that the successor Plan Trustee

shall not be liable for the acts or omissions of any prior Plan Trustee.

3.8 Continuance of Trust. The death, resignation, or removal of the Plan Trustee shall
not operate to (i) terminate the Trust created by this Trust Agreement, (ii) revoke any existing
agency (other than any agency of the Plan Trustee as the Plan Trustee) created under this Trust
Agreement, or (iii) invalidate any action taken by the Plan Trustee. The Plan Trustee agrees that
the provisions of this Trust Agreement shall be binding on, and inure to the benefit of, the Plan
Trustee and its heirs, legal and personal representatives, successors or assigns, as the case may be.
ln the event of the resignation or removal of the Plan Trustee, the Plan Trustee shall promptly (i)
execute and deliver by the effective date of resignation or removal, any documents, instruments,
and other writings that may be reasonably requested by the successor Plan Trustee to effect the
termination of the resigning or removed Plan Trustee’s capacity under this Trust Agreement and
the conveyance of the Trust Property then held by the resigning or removed Plan Trustee to the
successor Plan Trustee; (ii) deliver to the successor Plan Trustee all documents, instruments,
records, and other writings relating to the Trust that may be in the possession or under the control
of the resigning or removed Plan Trustee; and (iii) otherwise assist and cooperate in effecting the
assumption of the resigning or removed Plan Trustee’s obligations and functions by the successor
Plan Trustee. The resigning or removed Plan Trustee hereby irrevocably appoints the successor
Plan Trustee as its attorney-in-fact and agent with full power of substitution for it and its name,
place, and stead to do any and all acts that Such resigning or removed Plan Trustee is obligated to
perform under this section 3.8. Such appointment shall not be affected by the subsequent disability

or incompetence`of the Plan Trustee making the appointment

3.9 Compensation. As compensation for services as Plan Trustee, the Plan rl`rustee
shall receive reasonable compensation for all services rendered based upon time incurred and the
ordinary hourly rates of the person providing services The Plan Trustee shall also be entitled to

reimbursement of all out-of-pocket expenses

3.10 Standard of Care: Indemnification: Exculnation. The Plan Trustee, acting in the
capacity as the Plan Trustee or in any other capacity contemplated by this Trust Agreement or the
Plan, shall not be personally liable in connection with the affairs of the Trust to the Trust or to any
Person, except for such acts or omissions constituting fraud, willful misconduct, or gross
negligence, The Plan Trustee shall not be personally liable to the Trust or to any Person for the
acts or omissions of any ofhcer, employee, or agent of the Trust, unless the Plan Trustee acted with
gross negligence or willful misconduct in the section, retention, or supervision of such officer,
employee, or agent of the Trust. Except in those situations in which the Plan Trustee is not
exonerated of personal liability in accordance with the foregoing, the Plan Trustee (including each
former Plan Trustee) shall be indemnified by the Trust against, and held harmless by the Trust
from, any losses, claims, damages, liabilities, or expenses (including attorney fees, disbursements,
and related expenses) to which the Plan Trustee may become subject in connection With any action,
suit, proceeding, or investigation brought or threatened against the Plan Trustee in its capacity as
Plan Trustee, or in any other capacity contemplated by this Trust Agreement or the Plan or in
connection with any matter arising out of or related to the Plan, this Trust Agreement, or the affairs
of the Trust. If the Plan Trustee becomes involved in any action, proceeding, or investigation in
connection with any matter arising out of or in connection with the Plan, this Trust Agreement, or
the affairs of the Trust, the Trust shall periodically advance or otherwise reimburse on demand the
Plan Trustee’s reasonable legal and other expenses (including the Cost of any investigation and
preparation and attorney fees, disbursements, and related expenses) incurred in connection
therewith, but the Plan Trustee shall be required to repay promptly to the Trust the amount of any
such advanced or reimbursed expenses paid to the Plan Trustee to the extent that it shall be
ultimately determined by Final Order that the Plan Trustee engaged in fraud, willful misconduct, or
gross negligence in connection with the complained of actions. The Trust may indemnify and hold
harmless the employees and agents of the Trust to the same extent as provided in this section 4.1 l
for the Plan Trustee. The provisions of this section shall remain available to, and be binding on,

any former Plan Trustee or the estate of any deceased Plan Trustee.

3.11 Reliance by Plan Trustee. The Plan Trustee may rely, and shall be fully protected

in acting or refraining from actingJ on any resolution, statement, certificate, instrument, opinion,

report, notice, request, consent, order, or other instrument or document that the Plan Trustee has no
reason to believe is not genuine and to have been signed or presented by the proper party or parties
or, in the case of facsimiles, to have been sent by the proper party or parties, and the Plan Trustee
may conclusively rely as to the truth of the statements and correctness of the opinions expressed in
such documents ; provided, liowever, the Plan Trustee shall be under a duty to examine, or caused
to be examined, the above-referenced documents to determine whether those documents conform
to the requirements of the Plan. The Plan Trustee may consult with counsel, and any opinion of
counsel shall be full and complete authorization and protection regarding any action taken or
suffered by the Plan Trustee in accordance with such opinionl The Plan Trustee shall have the right
at any time to seek instructions from the Bankruptcy Court (or any other court of competent
jurisdiction after the chapter ll case is finally closed) concerning the Trust Property, the Plan, or
any other document executed in connection therewith, and those instructions shall be full and
complete authorization regarding any action taken or suffered by the Plan Trustee in accordance

with those instructions

3.12 Reliance by Persons Dealing With the Trust. ln the absence of actual knowledge
to the contrary, any Person dealing with the Trust shall be entitled to rely on the authority of the
Plan Trustee to act in connection with the acquisition, management, or disposition of Trust
Propeity, and shall have no obligation to inquire into the existence of such authority On the sale
by the Plan Trustee of any portion of the Trust Property, such Trust Property shall be delivered to
the purchaser free and clear of any Liens or other encumbrances, claims, or interests of the Plan

Trustee or the Beneficiaries, except as may otherwise be agreed to by the purchaser.

3.13 Statement of Discharge and Dischar£e of Plan Trustee.
3.13.1 Statement of Discharge. The Plan Trustee shall, on termination of the
Trust or on the Plan Trustee’s resignation, removal, or death (in which case the Plan Trustee’s
estate shall), render a statement of discharge containing the following information: (i) all assets
and funds of the Trust originally charged under the Plan Trustee’s control; (ii) a summarized
accounting, in sufficient detail, of all purchases, sales, gains, losses, and income in connection with

the Trust during the Plan Trustee’s term of service; and (iii) the ending balance of all assets and

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funds of the Trust as of the date of discharge At the discretion of the Plan Trustee, such statement
may be audited by the independent accountants in accordance with generally accepted auditing

standards

3.13.2 Approval of Statement of Discharge. The statement of discharge required
by section 3.13.1 shall be filed with the Bankruptcy Court. Unless a majority of the Beneficiaries
object to the approval of the statement of discharge within 30 days after the date on which such
statement of discharge was filed, the withdrawing Plan Trustee shall be discharged from all liability
to the Trust, the Beneficiaries, and any Person who has had or may have an interest in the Trust or
Trust Property for acts or omissions in the Plan Trustee’s capacity as the Plan rl“rustee or in any

other capacity contemplated by the Plan or this 'l`rust Agreement

3.13.3 Costs Relating to Statement of Discharge. The expenses of any
accounting in connection with the statement of discharge shall be paid by the Trust as a Trust Cost.

ARTICLE IV

Powers of the Plan Trustee

4.1 Title. Legal title to all Trust Property shall be vested in the Plan Trustee, subject to
the Plan Trustee’s ability to cause legal title (or evidence of title) to any of the Trust Property to be
held by any nominee or Person, on such terms, in such manner, and with such powers as the Plan

Trustee may determine

4.2 Managelnent Power. Except as otherwise expressly limited in the Plan or this
Trust Agreement, the Plan Trustee shall have control and authority over the Trust Property,
including the Rights of Actions and other causes of action belonging to the Trust, and over the
management and disposition of the Trust Property (including any transfer of Trust Property that
does not constitute a disposition). Except as otherwise provided in the Plan or this Trust
Agreement, the Plan Trustee need not obtain any Court order or approval in the exercise of any

power or discretion conferred under this Trust Agreement, or account to any Court in the absence

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of a breach of fiduciary duty. The Plan Trustee shall exercise its judgment for the benefit of the
Beneficiaries in order to maximize the value of the Trust Property, giving due regard to the cost,
risk, and delay of any course of action. In connection with the management and use of the Trust
Property, the Plan Trustee’s powers (exccpt as otherwise expressly limited in the Plan) shall
include the following:

(i) to accept the Trust Property, pursue the liquidation and marshaling of the Trust
Property, and preserve and protect the Trust Property;

(ii) to reconcile, settle, or object to Claims against Primera and to investigate,
prosecute, or settle, Causes of Action that are Trust Property against third parties;

(iii) to make or cause to be made the initial cash distribution, and to make Distributions
of Availahle Cash at least annually in accordance with the terms of the Plan and this Trust
Agreement;

(iv) with the prior approval of the Bankruptcy Court after notice and hearing, to liquidate
and distribute Trust Property or any part thereof or any interest therein, and to dispose of the Trust
Property for Cash or on such terms and for such consideration as the Plan Trustee deems proper;

(v) to engage in all acts that would constitute ordinary performance of the obligations of
a trustee under a liquidating trust and to file all returns of the Trust as a grantor trust for the
Beneficiaries under Treasury Regulation sections l.67l-4(a) or (b);

(vi) to enforce the payment of notes or other obligations of any Person or to make
contracts with respect to such enforcement;

(vii) to purchase insurance with such coverage and limits as it deems desirable consistent
with the provisions of the Plan or this Trust Agreement, including insurance covering liabilities of
the Plan Trustee or employees or agents of the Trust incurred in connection with their services to
the Trust;

(viii) to appoint, engage, employ, supervise, and compensate officers, employees, and other
Persons as may be necessary or desirable, including managers, consultants, accountants, technical,
financial, real estate, or investment advisors or managers, attorneys, agents or brokers, corporate
fiduciaries, or depositories, and the Registrar;

(ix)to the extent reasonable required to meet claims and contingent liabilities (including

Disputed Claims) or to maintain the value of Trust Property during liquidation, to invest and

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reinvest Cash available to the Trust, pending distribution, and to liquidate such investments;
provided, however, during it existence, the Trust shall not receive or retain Cash or Cash
equivalents in excess of a reasonable amount necessary to meet Claims and contingent liabilities
(including reasonable amount necessary to meet Claims and contingent liabilities (including
Disputed Claims) or to maintain the value of the Trust Property during liquidation;

(x) to determine the manner of ascertainment of income and principal, and the
apportionment of income and principal, and the apportionment between income and principal of all
receipts and disbursements, and to select an annual accounting period;

(Xi) establish such ii_mds, reserves, and accounts within the Trust estate, as deemed by
the Plan Trustee in its discretion to be useful in carrying out the purposes of the Trust;

(xii) to sue and participate, as a party or otherwise, in any judicial, administrative
arbitrative or other proceeding;

(xiii) delegate any or all of the discretionary power and authority conferred in this Trust
Agreement at any time with respect to all or any portion of the Trust to any one or more reputable
individuals or recognized institutional advisers or investment managers without liability for any
action taken or omission made because of any such delegation;

(xiv) undertake any duties or obligations and exercise any rights concerning the treatment
of Secured Claims under the Plan;

(xv) execute, deliver and perform such other agreements and documents and to take or
cause to be taken any and all such other actions as it may deem necessary or desirable to effectuate
and carry out the purposes of this Trust Agreement;

(xvi) undertake any action or perform any obligation provided for or required by the Plan;
and

(xvii) undertake any action or perform any obligation required in order to wind up the
business of Primera including the preparation and filing of any returns or reports required by any

Crovernmental Unit, and the filing of articles of dissolution

4.3 Commingling of Trust Properg. 'l`he Plan Trustee shall not commingle any of
the Trust Property with its own property or the property of any other Person.

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4.4 Employment and Compensation of Professionals. The Plan Trustee shall have
the authority to employ and compensate attorneys, accountants, investment advisors, and other

professionals (including a Registrar and a disbursing agent to make Distributions) as the Plan
Trustee may determine to be necessary or appropriate in carrying out the provisions of the Plan and
this Trust Agreement The Trust Property may pay the reasonable fees and expenses of such

professionals as a Trust Cost without application to the Bankruptcy Court.

ARTICLE V
Obligations of the Plan Trustee

5.1 Records. The Plan Trustee shall maintain records and account books
relating to the Trust Property, the management of the Trust and the Trust Property, and all
transactions undertaken by the Plan Trustee. The Plan Trustee shall also maintain records and

account books relating to all Distributions contemplated and made under the Plan.

5.2 Investment Guidelines. Cash held pending distribution, including Cash held in
Reserves, shall, to the extent permitted by applicable law, be invested by the Plan Trustee in (i)
direct obligations of, or obligations guaranteed or secured by, the United States of America
(including United States Treasury Bills); (ii) obligations of any agency or corporation that is or
may hereafter be created by or under an Act of the Congress of the United States of America as an
agency or instrumentality thereof, or (iii) demand deposits or short~term certificates of deposit at
any bank or trust company that has, at the time of the acquisition by the Plan Trustee of such
investments, capital stock and surplus aggregating at least $100 million and whose short-term debt
obligations are rated by at least two nationally recognized statistical rating organizations in one of
the two highest categories therefore, but the scope of any such permissible investments shall be
limited to include only those investments, or shall be expanded to include any additional
investments, as the case may be, that a liquidating trust, within the meaning of Treasury Regulation
section 301.7701-4(d) may be permitted to hold, pursuant to any amendment or addition to the
internal Revenue Code or to the Treasury Regulations, or any modification in IRS guidelines,

whether set forth in IRS rulings, other IRS pronouncements, or otherwise Such investments shall

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mature in such amounts and at such times as, in the judgment of the Plan Trustee at the times such
investments are made, are necessary, or are desirable with a view to providing funds when needed
to make payments from the Trust Property. Any investment purchased with the Trust Property
shall be deemed a part of the Trust Property, and all interest, distributions, dividends, and proceeds
received by the Plan Trustee on account of such investments shall be a part of the Trust Property.

5.3 Access to Information bv Beneficiaries. On reasonable request, each Beneficiary
shall have reasonable access to the business records of the Trust during normal business hours for
the purpose of obtaining information relating to the management of the Trust or Trust Property for
any purpose reasonable related to the interests generally of the Beneficiaries; provided, however,
that such access does not constitute an undue burden on the Plan Trustee and is not detrimental to
the Trust. Nothing contained in this section is intended to restrict any Beneficiary from access to

the business records of the Plan Trustee that the Plan Trustee discretionarily elects to provide.

5.4 United States Trustee Fees. After the Closing Date and until the Bankruptcy Case

is closed, the Plan Trustee shall pay as a Trust Cost all fees incurred under 28 U.S.C. section

1930(@)(6).

5.5 Rights of Action.
5.5.1 Investigation and Pursuit. The Plan Trustee shall investigate, evaluate, and

prosecute all Rights of Action, including but not limited to Causes of Action under chapter 5 of the
Bankruptcy Code, against third parties; provided, however, the Plan Trustee may decide not to
prosecute any Right of Action against a third party that the Plan Trustee reasonably believes would
not be appreciany beneficial to the Trust.

5.5.2 Compromise and Settlement. The Plan Trustee may compromise and
settle any Right of Action, without the necessity of Bankruptcy Court approval.

5.6 Dissolution of Primera Energy, LLC. After the Closing Date, the Plan Trustee

shall have all corporate power and authority With respect to the winding up of Primera’s business

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and the dissolution of the company. The Plan Trustee may, but shall not be obligated to, file

articles of dissolution for Primera at any time.

ARTICLE VI

Beneficial lnterests

6.1 Allocation of Beneficial lnterests to HoIders of Primera Claims.
The Trust shall allocate, as of the Effective Date, to each holder of an unpaid Claim, a Beneficial
lnterest in the Trust equal to the ratio that the amount of the holder’s Claim bears to the total
amount of all such Claims. The allocation of Beneficial lnterests shall be made as if all Disputed

Claims were Allowed Claims as of the Effective Date.

6.2 Allocation of Beneficial lnterests to Holders of Primera Eguigg Interests. On

the satisfaction of all required payments to Claims in accordance with section 7.2.3 of this Trust
Agreement, all Beneficial lnterests previously allocated to holders of Claims shall be canceled, and
reallocated to holders of Equity lnterests, by allocating to each holder of Equity lnterest, a
Beneficial lnterest in the Trust Equal to the ratio that the amount of the holders’ Equity lnterest
bears to the total amount of all Equity lnterests

6.4 Reaister Entries Reaarding Beneficial Interests. The Plan Trustee or the
Registrar shall made appropriate notations in the Trust Register and calculate the following ratios

before each Distribution:
(i) the Beneficial lnterests and Claim or lnterest held by each Beneficiary; and

(ii) as to each Beneficiary, the Ratable Proportion.

6.5 Allocation of Beneficial lnterests to Holders of Disputed Claims. The allocation

of any Beneficial lnterest on account of a Disputed Claim pursuant to Article Vll of this Trust
Agreement, shall be reserved on the Trust Register maintained by the Registrar and shall become a
Reserved Beneficial interest Any Claim liled, in whole or in part, in an unknown or undetermined

amount may be estimated by the Plan Trustee, subject to approval by the Bankruptcy Court, and

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such Claim as estimated shall be deemed a Disputed Claim until otherwise allowed To the extent
all or a portion of a Disputed Claim is ultimately disallowed, the Trust shall reallocate among the
remaining Beneficial Interests, the Reserved Beneficial lnterest relating to the portion of the
Disputed Claim that was disallowed To the extent all or a portion of a Disputed Claim ultimately
becomes an Allowed Claim, the Reserved Beneficial lnterest relating to the portion of the Disputed

Claim that was allowed, shall be removed from the Reserve.

6.6 Representation of Beneficial Interest. The Beneficial lnterests shall be

uncertificated. The Beneficial lnterests shall be represented by appropriate book entries in the

Trust Register.

6.7 Absolute Owners. The Plan Trustee may deem and treat the Beneficiary of
record (as determined pursuant to Article Vll of this Trust Agreement) as the absolute owner of
such Beneficial lnterests for the purpose of receiving Distributions and for all other purposes

whatsoever.

6.8 Non-transferable. Beneficial lnterests are not transferable except upon the

death of the Beneficiary or by operation of law.

ARTICLE VII

Administration of the Trust Estate

7.1 Establishment of Reserves and Payinent of Creditor Claims.

7.1.1 Reserve for and Payment of Adininistrative Expenses. Before making
any Distributions and within forty~five (45) days after Effective Date, the Plan Trustee shall fund

the Administrative Expense Reserve with any Available Cash in an amount sufficient to pay the
claimed amount of all Administrative Claims, including Professional Fee Claims. Administrative
Claims shall be paid from the Administrative Expense Reserve as allowed by Order of the
Bankruptcy Court. Professional Fee Claims shall be paid from retainers or from the Administrative
Expense Reserve as allowed by Order of the Bankruptcy Court. To the extent any funds held in the

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Administrative Expense Reserve relate to Administrative Claims or Professional Fee Claims that
have either been disallowed by the Bankruptcy Court, or are no longer claimed as evidenced by a
written release of such Claim or the failure to seek allowance of such Claim within six (6) months
from the Effective Date, then such funds shall be distributed on the next Distribution Date to
holders of Beneficial lnterests as if the funds were Available Cash. The Administrative Expense

Reserve shall be dissolved once all required payments have been made.

7.1.2 Resei've for and Pavment of Priority Claims. Before making any
Distributions and within forty-five (45) days after the Effective Date, the Plan Trustee shall
establish a Priority Claim Reserve funded with any Available Cash iii an amount necessary to pay
the claimed and/or scheduled amount of all Priority Claims, including any applicable interest
accruing from the Effective Date to the Allowance Date. Allowed Priority Claims shall be fully
and completely satisfied by the payment of Cash from the Priority Unsecured Claim Reserve in an
amount equal to the a Priority Claim on the later of the Allowance Date or Distribution Date. To
the extent any funds held in the Priority Claim Reserve relate to a Priority Claim that has either
been disallowed by the Bankruptcy Court or is no longer claimed as evidenced by a written release
of such Claim, or the failure to seek allowance of such Claim within six (6) months from the
Effective Date, then those funds shall be distributed on the next Distribution Date to holders of
Beneficial lnterests as if the funds were Available Cash. The Priority Claim Reserve shall be

dissolved once all required payments have been made.

7.1.3 Operating Reserve. The Plan Trustee shall establish the Operating
Reserve funded periodically with Available Cash in an amount determined by the Plan Trustee, in
consultation with the Trust Committee, to be reasonably necessary to pay anticipated Trust Costs,

fund litigation, fund contingent liabilities, and otherwise conduct the affairs of the Trust.

7.1.4 Disputed Claims Reserve for Beneficiaries. Before any Distributions and
within forty-five (45) days after the Effective Date, the Plan Trustee shall establish a Disputed
Claims Reserve (which shall be a segregated, interest-bearing account) funded periodically with
Available Cash in an amount sufficient to pay (i) all Allowed Claims and Allowed Equity lnterests

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whose Distributions are unclaimed and (ii) all Disputed Claims and Disputed Equity lnterests
pending a determination of their entitlement to Distributions under the Plan. When a Disputed
Claim or Disputed lnterest becomes an Allowed Claim or Allowed lnterest, the Plan Trustee shall
release and distribute the funds reserved for the particular Disputed Claim or Disputed lnterest (net
of distribution cost) from the Disputed Claim Reserve, together with any earned interest
attributable to the Disputed Claim or Disputed lnterest lf the Bankruptcy Court disallows the
Disputed Claim or Disputed lnterest, the funds and interest and proceed thereon attributable to the
Disputed Claim or Disputed lnterest shall be part of the Available Cash or Trust Property free and

clear of any Liens, claims, interest, or other encumbrances, and shall be distributed in accordance

with the Plan and this Trust Agreement

7.2 Distributions to Holders of Beneficial Interests.

7 .2.1 Distributions Generally. The Plan Trustee shall only make Distributions
from available cash and not from Trust Property, except as otherwise provided in the Plan or this
Trust Agreement Beginning on the Effective Date, interest shall accrue on the unpaid balance of a
Beneficiary’s Allowed Unsecured Claim at 5% per annum lnterest shall accrue on Subordinated
Claims at 5% per annum. Distributions of available cash received by a Beneficiary shall be
applied first to pay the principal amount of the Allowed Claim and then to accrued and unpaid
interest Subj ect to the establishing the Reserves described above and any other limitations
contained in this Trust Agreement, the Plan Trustee shall make an initial distribution from available
cash on the Effective Date of the Plan and thereafter shall have authority to make Distributions of
available cash at such times the Plan Trustee believes there is sufficient available cash to warrant a
Distribution. The Trust shall not, in any event, retain Trust Cash in excess of what is reasonably
necessary to fund the Reserves.

7.2.2 Distributions to Beneficiaries Who are Holders of Unsecured Claims.

A Beneficiary who is the holder of a Unsecured Claim shall receive on a Distribution Date its
share of Available Cash based on the Beneficiary’s Ratable Proportion until the Beneficiary’s

Allowed Unsecured Claim is paid in full with interest

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7.2.4 Distributions to Beneficiaries Who Are Holders of Eauitv Interests. On
the prior satisfaction in full of all Beneficiaries pursuant to section 7.2.3, a Beneficiary who is the
holder of an Equity interest shall receive on a Distribution Date its share of Available Cash based
upon the Beneficiary’s Ratable Proportion.

7.2.5 Distributions to Holders of Reserved Beneficial Interests. No
Distributions shall be made to holders of a Reserved Beneficial lnterest To the extent a Reserved
Beneficial lnterest is removed from the Reserve on the Trust Register in accordance with section
7.5 and becomes a Beneficial lnterest, any Cash in the Disputed Claims Reserve relating to that
Beneficial lnterest shall become Available Cash and shall be released and distributed to such
Beneficiary on the next Distribution Date. To the extent a Reserved Beneficial lnterest is
reallocated among the remaining Beneficial lnterest in accordance with section 6.5, any Cash in the
Disputed Clairn Reserve relating to that Reserved Beneficial lnterest shall become Available Cash
and shall be released and distributed on the next Distribution Date to the holders of the remaining

Beneficial lnterests.

7.3 Place and Manner of Payments or Distributions The Plan Trustee shall make
Distributions to the Beneficiaries of record as of the Record Date by mailing the Distribution to the
Beneficiary at the Beneficiary’s address as listed in the Schedules of Assets and Liabilities, or any
proof of claim filed by the Beneficiary, or as listed in Trust Register, or at such other address as the
Beneficiary shall have specified for payment purposes in a written notice to the Plan Trustee and/or
the Registrar at least 20 days before the applicable Record Date. The Plan Trustee may distribute
any Cash by wire, check, or such other method as the Plan Trustee deems appropriate under the
circumstances Before receiving any Distributions, all Beneficiaries, at the Plan Trustee’s request,
must provide to the Plan Trustee written notification cf their respective F ederal Tax Identification
Numbers or Social Security Numbers; otherwise, Plan Trustee may suspend Distributions to any
Beneficiary who has not provided its Federal Tax Identification Nurnber or Social Security
Nurnber. lf a Beneficiary does not provide the Plan Trustee With its Federal Tax ldentification

Number or Social Security Number, as applicable, within six (6) months after written request is

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made (such written request being adequate if mailed by first class mail or any other manner

deemed appropriate by the Plan Trustee), such Beneficiary waives its right to any Distribution

under the Plan.

7.4 Minimum Distributions To the extent a Distribution to a particular Beneficiary is
less than $l 00.00, the Plan Trustee may hold the Distribution until the final Distribution or until the
aggregate of Distributions to the Beneficiary exceeds SlO0.00.

7.5 Unclaimed or Undelivered Distributions.
7.5.1 Undeliverable Distributions. If a Distribution to any Beneficiary is
returned as undeliverable, the Plan Trustee shall use reasonable efforts to determine the l
Beneficiary’s then current address, and no further Distributions shall be made to the Beneficiary
unless and until the Plan Trustee is notified of the Beneficiary’s then current address If the Plan
Trustee is not notified in writing by the Beneficiary of such address change, such Beneficiary

waives its right to any Distributions under the Plan.

7.5.2 Treatment of Unclaimed or Undeliverable Distributions if any Person
entitled to Distributions of Available Cash or Trust Property under the Plan cannot be located on
the Effective Date or any time thereafter, then, subject to the provisions of this section, such
Available Cash or Trust Property shall be set aside, and, in the case of Available Cash, held in an
interest-bearing account or fund maintained by the Plan Trustee on behalf of the Person. If the
Person is located within nine (9) months after Effective Date, the Available Cash, together with any
interest actually earned thereon and proceeds thereof (less the allocable portion of taxes paid by the
Debtor on account of the Person), shall be paid or distributed to such Person, if the Person cannot
be located within nine (9) months after the Effective Date, then (i) the Person shall no longer be
deemed to be a Beneficiary , and (ii) any Available Cash and Trust Property and interest and
proceeds thereon allocable to the Person (net of the allocable portion of taxes paid by the Debtor)
shall be part of the Available Cash or Trust Property free and clear of any Claim to such property
by or on behalf of the Person (who shall be deemed to have released such Claim), and shall be

otherwise distributed as provided in the Plan, with such adjustments as are required to take into

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account that such Person is no longer a Beneficiary

7.6 Tax Matters.

7.6.1 Certain Income Tax Matters. The general purpose of the Trust established
under this Trust Agreement is to provide a mechanism for the liquidation of the Trust Property, and
to distribute the proceeds of the liquidation, net of all Claims, expenses, charges, liabilities, and
obligations of the Trust, to the holders of Beneficial lnterests and certain Allowed Claims and
Equity lnterests in accordance with the terms of the Plan. The Trust will not conduct or engage in
any trade or business activities, other than those associated with or related to the liquidation of the
Trust Property and the Distributions to the Beneficiaries lt is intended that the Trust be classified
for federal income tax purposes as a “liquidating trust” within the meaning of Treasury Regulations
section 301.7701-4(d). All parties to this Trust Agreement shall treat the transfers in trust
described herein as transfers to the Beneficiaries for all purposes of the internal Revenue Code of
1986, as amended (including sections 61(12), 483, 1001, l012, and 1274). All parties to this Trust
Agreement shall treat the transfers in trust as if all the transferred assets, including all the Trust
Property, had been first transferred to the Beneficiaries and then transferred by the Beneficiaries to
the Trust. The Beneficiaries shall be treated for all purposes of the internal Revenue Code of 1986,
as amended, as the grantors of the Trust and the owners of the Trust. The Plan Trustee shall file
returns for the Trust as a grantor trust under Treasury Regulations section 1.67l-4(a) or (b). The
parties hereto, including the Plan Trustee and the Beneficiaries shall value the property transferred
to the Trust consistently and such valuations shall be used for all federal income tax purposes. The
Beneficiaries (except to the extent a Beneficiary is the lntemal Revenue Service) shall be
responsible for payment of any taxes due with respect to the operations of the Trust. During its
existence, the Trust shall not receive or retain Cash or Cash equivalents in excess of a reasonable
amount necessary to meet Claims and contingent liabilities (including Disputed Claims) or to
maintain the value of its assets during liquidation The Plan Trustee shall use its continuing best
efforts to dispose of the fl`rust Property, make timely Distributions, and shall not unduly prolong the
duration of the Trust. The Plan Trustee is authorized to take any action as may be necessary or
appropriate to minimize any potential tax liability of the Trust and, thereafter, the Beneficiaries

arising out of the operations of the Trust The Plan Trustee is directed to allocate all costs, charges,

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expenses, and deductions, in whole or in part, to income or principal at such time and in such a
manner as the Plan Trustee shall determine will reduce or eliminate the Trust’s taxes, if any. The
Plan Trustee shall file in a timely manner all tax returns that are required by applicable law by
virtue of the existence and operations of` the Trust. The Trust shall distribute, at least annually, all
Trust income and gain, Cash (whether or not allocable to income or principal, including all capital
gains allocable to principal), any other Trust Property the Plan Trustee in its discretion determines
is properly distributable (whether out of income or principal), and liquidation proceeds to the
Beneficiaries, after payment of expenses and liabilities, less the Reserves and reasonable necessary
Reserves for expenses and other Trust Costs. Additionally, the Plan Trustee shall, at least annually,
provide to Beneficiaries such information that is appropriate or necessary to enable the
Beneficiaries to determine their respective tax obligationsJ if any, arising out of the operations of
the Trust. The Beneficiaries (except to the extent the IRS is a Beneficiary) shall each report their
share of the net income of the Trust as reported to them by the Plan Trustee and pay any tax owing
thereon on a current basis. All income of the Trust, including amounts retained in a Disputed
Claims Reserve, will be taxed either to the Beneficiaries (except to the extent the IRS is a
Beneficiary) or to the Trust (in the case of amounts allocated to a Disputed Claims Reserve) each
taxable year. No Beneficiary shall have any claim to or with respect to any specific property held

in trust and shall have no claim to or for a distribution of property in kind.

7.6.2 Treat'rnent of` Trust Property for Tax Purposes. The aggregate value of
the Trust Property shall be determined by the Plan Trustee shortly after the Effective Date and

reported to the Beneficiaries and the Trust Committee The value of the Trust Property shall be

consistently reported for federal income tax purposes

7.6.3 Withholding. The Plan Trustee may withhold from the amount distributable
at any time to any Person (except with respect to the IRS) such amounts sufficient to pay any tax or
other charge that have been or may be imposed on such Person with respect to the amount
distributable or to be distributed under the income tax laws of the United States of America or of
any state or political subdivision or entity by reason of any Distribution provided for under the Plan

or this Trust Agreement, whenever such withholding is determined by the Plan Trustee in its

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discretion to be required by any law, regulation, rule, ruling, directive or other governmental
requirement The Plan Trustee, in the exercise of its discretion and judgment, may enter into
agreements with taxing or other authorities for the payment of such amounts as may be withheld in
accordance with the provisions of this section Notwithstanding the foregoing but without
prejudice to the Plan Trustee’s rights, such Person shall have the right with respect to the United
States of America, or any state, or any political subdivision or either, to contest the imposition of

any tax or other charge by reason of any Distribution under the Plan.

7.6.4 Tax Reporting. To the extent that any Beneficiary may be able to use the
installment method of reporting income with respect to a Distribution, the Plan Trustee will
annually compile and disseminate to Beneficiaries who request such information all available tax
return information with respect to interest (stated or unstated) and otherwise necessary or useful in

reporting under the installment method

7.6.5 Interest. ln the Plan Trustee’s discretion, interest received with respect to
principal distributed pursuant to this Trust Agreement shall be distributed along With the

underlying principal.

7.6.6 AIlocation of Income and Losses. Unless otherwise determined by the Plan
Trustee in its reasonable discretion, allocations between Beneficiaries of taxable income of the
Trust for each of its tax years shall be determined by reference to the manner in which an amount
of Cash equal to the amount of such taxable income would be distributed (without regard to any
restrictions on Distributions described in the Plan) if, immediately before such deemed
Distribution, the rfrust had distributed all its other assets (valued for this purpose at their tax book
value) on account of the Beneficial lnterests (treating the Disputed Claim Reserve for this purpose
as Beneficiaries entitled to Distributions), taking into account all prior and concurrent Distributions
from the Trust made in accordance with the Plan. Similarly, taxable loss generally will be
allocated by reference to the manner in which an economic loss would be borne immediately after a
liquidating Distribution of the remaining Trust Property. The tax book value of assets means their

fair-market value on the Effective Date or, if later, the date on which such assets were acquired by

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the Trust, adjusted in either case in accordance with applicable tax accounting principles Taxes
payable on account of taxable income of the Trust allocated to the Disputed Claim Reserve shall be
paid as a Trust Cost. With regard to transfers of Beneficial lnterests, the Plan Trustee shall
promptly establish a standard convention for allocating and apportioning taxable income and loss
between a transferor and its transferee and shall not be required to so allocate and apportion based
on the actual Trust activities before and after the date of any transfer. The Plan Trustee shall notify
the Beneficiaries of the convention adopted promptly after such adoption The Plan Trustee shall
use it sole discretion to establish a fair and equitable convention to apply and may, but is not

required to, adopt a monthly, quarterly, or similar record date convention

ARTICLE VIII

Termination

The Trust shall terminate on the earlier of (i) the date that is five (5) years after the date this
Trust is created or (ii) the distribution of all Available Cash and Trust Property. Notwithstanding
the foregoing, with Bankruptcy Court approval, the Plan Trustee may extend the term of the Trust
for one or more finite terms based on the particular facts and circumstances at that time, if it is in
the best interest of the Beneficiaries and an extension is necessary to the liquidating purpose of the
Trust. If permitted under the applicable law and not contrary to the classification of the Trust as a
liquidating trust and a pass~through entity under applicable income tax law, and if in the best
interests of the Beneficiaries, the Plan Trustee may distribute interests in the Trust Property or
distribute the Trust Property to another Person and then distribute interests in such Person to the
Beneficiaries Trust Property to be distributed in kind shall be valued by the Plan Trustee in its

reasonable discretion at their tax book value. The Trust may not be terminated at any time by the

Beneficiaries
ARTICLE IX
Plan Administration Committee
(a) Establishment. A committee (the “Plan Adrninistration Committee” or “PAC”) is

hereby established consisting of no more than three (3) creditors from the existing Committee of

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Unsecured Creditors, to consult with the Plan Trustee regarding the Creditor Trust Assets. The
PAC shall only exist so long as there are at least two (2) creditors willing to serve. No
compensation to the members of the PAC shall be paid by the Plan Trustee from the Creditor Trust
Assets; provided, however, that reasonable expenses of the PAC and PAC l\/lernbers will be
reimbursed by the Plan Trustee from the Creditor Trust Assets. The PAC shall have standing as a
party in interest to enforce the terms and provisions of this Agreement and the Plan. The PAC shall
have the authority to retain counsel if necessary to resolve a dispute with the Plan Trustee and the
reasonable fees and expenses of such counsel shall be a cost of administration of the Creditors
Trust. The PAC Members shall not be liable for any act done or omitted to be done as a member of
the PAC while acting in good faith and the Creditors Trust shall indemnify and hold harmless each
PAC Member, and their respective agents, representatives, professionals, and employees, from and
against and in respect of any and all liabilities, losses, damages, claims, costs and expenses,
including, but not limited to attorneys’ fees and costs arising out of or due to their actions or
omissions, or consequences of such actions or omissions, with respect to the Creditor Trust;
provided, hcwever, that no such indemnification will be made to such Persons for actions or

omissions that constitute willful misconduct, negligence or fraud.
(b) Governance of Plan Administration Committee

(l) A simple majority of the then current PAC Members must be present to constitute a quorum
to conduct PAC business No PAC business may be conducted absent a quorum A PAC Member
may vote by written proxy, and such proxy shall be counted for the purpose of establishing a
quorum The proxy shall specihf the particular issue or issues to which it pertains or may be

general in nature. Each PAC Member shall have one (l) vote. Except as otherwise provided

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herein, every act or decision done or made by a majority of the PAC Members at a duly held
meeting at which a quorum is present shall constitute the act of the PAC. PAC Members shall not
participate in and shall abstain from any vote with respect to any claim objection, litigation or other
matter involving such PAC Member. In the event that any voting PAC Member abstains from
voting, the requirement of a majority for PAC action shall be reduced by one (l) vote for each PAC
Mernber who abstains from voting. The Chairperson shall tally and record the votes of the PAC

l\/lernbers. In the event of a voting tie, ties shall be broken by the Chairperson

(2) Action may be taken without a meeting if the Chairperson determines that an emergency
exists justifying such action without a meeting and if a majority of the voting PAC members
consent to such action and execute a written consent Notice of any actions so taken shall be sent
to the other PAC Members. Mcetings may be held in person, telephonically or electronically, as
determined by the PAC. The PAC shall elect a chairperson (“Chairperson”) who shall be charged
with responsibility of scheduling, presiding over, arranging for minutes to be kept, and overseeing
administration of all PAC matters. The PAC shall meet at such times, in such location, and with

such frequency as the PAC shall determine, but no more often than quarterly unless the PAC needs

to approve a specific transaction

(3) Special meetings may be called by the Chairperson on at least thirty-six (36) hours advance
notice by telephone or electronic mail to each PAC Member, provided that in an emergency the
Chairperson may call a meeting on less than twenty-four (24) hours notice. lf` such notice is by
telephone, it shall, if practical be confirmed by electronic mail, or similar written medium. The
primary purpose for the special meeting shall be set forth in the notice The Chairperson shall call

special meetings whenever it deems it appropriate or whenever requested to do so by a simple

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majority of the PAC Members.

ARTICLE X
Miscellaneous

10.1 Notices. All notices, reports, or other communications required or permitted to be

made under this Trust Agreement shall be in writing and shall be delivered by United States Maii,

postage prepaid, to:

If to the Plan Trustee:

Notice mailed shall be effective on the date mailed All other notices shall be effective on the date
of delivery. Any Person may change the address for purposes of notices under this Trust Agreement

by furnishing Written notice to all other Persons identified above in this Article.

10.2 Amendment. This Trust Agreement may be amended by the proposal and approval
by the Plan Trustee of such amendment, and (i) the consent of the Beneficiaries holding a majority
of the Beneficial lnterests (excluding Reserved Beneficial lnterests), or (ii) pursuant to an order entered
by the Bankruptcy Court. Tbis Trust Agreement may be amended by the Plan Trustee without the
approval of the Beneficiaries to correct typographical errors or if such amendment is not material, and
in either case if such amendment does not adversely affect the interests of any Beneficiary, but such
amendment shall not be effective until fifteen (15) days after the Beneficiaries shall have been given

notice of such amendment

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10.3 Counterparts. This Trust Agreement may be executed in one or more Counterparts,

all of which shall taken together to constitute one and the same instrument

10.4 lGoverning Law; Severabilig. This Trust Agreement shall be governed by, construed
under, and interpreted in accordance with the laws of the State of Texas. if it shall_be determined by
a Court of competent jurisdiction that any provision of this Trust Agreement shall be invalid or
unenforceable under applicable law, such invalidity or unenforceability shall not invalidate the entire
Trust Agreement ln that case, this Trust Agreement shall be construed so as to limit any
impermissible term or provision so as to make it enforceable or valid within the requirements of
applicable law, and, if such term or provision cannot be so limited, this Trust Agreement shall be
construed to omit such invalid or unenforceable provisions provided that such construction, to the

maximum extent possible, shall give effect to the purposes of the Plan.

10.5 Headings. Sections, subheadings and other headings used in this Trust Agreement are

for convenience only and shall not affect the construction or interpretation of this Trust Agreement

10.6 Re}ationship to Plan. The principal purpose of this Trust Agreement is to aid in the
implementation of the Plan, and therefore this Trust Agreement is incorporated into the Plan. To that
end, the Plan Trustee shall have full power and authority to take any action consistent with the purpose
and provisions of the Plan and shall be bound by the terms cf the Plan. lf any provision of this Trust
Agreement is found to he inconsistent with the provisions of the Plan, the provisions of this Trust

Agreement shall control

10.’7 Consent to Jurisdiction. Each of the parties to this Trust Agreement (and each

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Beneficiary by its acceptance of the benefits of the Trust created under the Trust Agreement) (i)
consents and submits to the jurisdiction of the Bankruptcy Court for all purposes of this Trust.
Agreement, including any action or proceeding instituted for the enforcement of any right, remedy,
obligation, or liability arising under or by reason of the Trust Agreement, and (ii) consents and submits
to the venue of such action or proceeding in the City of Fort Worth, Texas (or such l udicial District

of a Court of the United States as shall include the same).

10.8 Waiver of Jul_'y Trial. ANY AND ALL RIGHT TO TRIAL BY .TURY IS HEREBY
WAIVED, AND THERE SHALL' BE NO RlGl-IT TO TR_lAL BY JURY IN ANY
LEGAL PROCEED[NG ARISING OUT OF OR RELATING TO THIS TRUST
AGREEMENT OR Tl-IE TRANSACTIONS CONTEMPLATED BY THIS TRUST

AGREEMENT.
10.9 Voting by Beneficiaries Any con_sent, approval, or vote of a majority of the

Beneficial lnterests required under this Trust Agreement shall be obtained where the number of such
consents approvals, or votes received, constitutes in excess of fifty (5 0) percent of the votes actually

cast on account of such Beneficial lnterests (excluding Reserved Beneficial lnterests).

IN WllNESS WHEREOF, the parties hereto have executed this Trust Agreement or caused
this Trust Agreement to be duly executed by their respective officers, duly authorized as of the day and

year first above written.

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Primera Energy, LLC

By:

 

Chapter l l Trustee

 

Plan Trustee

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Creditor:
Bai<er Hughes

C&S Wireline Services, LLC

Platinum Energy Solutions

McMULLEN COUNTY LIENS

Amount:
$405,314.27

312,758.00

31,030,723.60

Date Filed:
Mareh 2, 2014

June 2, 2014

July 23, 2014

Beck Bros., Inc. $117,320.84 September 8, 2014
P&A Supply, Ine. $109,512.54 September 15, 2014
Key Energy Serviees, LLC $82,516.50 September 26, 2014
d/b/a Edge Oilfield Services

Platinum Energy Solutions _ $215,427.13 Oetober 22, 2014
BCS Capital Serviees, lnc. $54,562.50 May 26, 2015
Gene:'ai Partner of Diamond Energy

Ser'vices, LP

K-3 Resources $56,978.74 July 7, 2014

d/b/a K-3 Services

CC Forbes $2,020.00 February 9, 2015
CC Forbes 315,804.18 February 9, 2015
Texas Energy Serviees $1,926.17 Febt'uary 23, 2015
GFES Liquidation Trust $651,276.47 Nov. 7, 2013

Unit Texas Drilling LLC $379,962.30 March 31, 2014
ChemRoek Technologies, LLC $15,000 Nov. 6, 2013

TOTAL

$3,151,103.24

ADMINISTRATIVE EXPENSE LIEN

(serviees provided post-petition but prior to appointment of Trustee)

OSC Energy, LLC

$3,787.94

 

GONZALES COUNTY LIENS

Creditor:
Dynasty Enterprises

Allied Oil & Gas
Steve Kent Trueking

OSC Energy, LLC

K-3 Resourees
d/b/a K-3 Services

Unit Texas Drilling

Key Energy Services
d/b/a Edge Oiltield Services

Key Energy Serviees
d/b/a Edge Oilfield Serviees

Trican We11 Serviee
Excalibur Rentals

Elite Toilet Rental
Ark-La~Tex Wireline Service
Torqued Up Energy

Mesa Southern Well Servicing
Diamond Energy Sei'viees
Cameron lnternational Corp.
D & B Rental Services

OSC Energy, LLC

Newpark Drilling Fluids

Mesa Southern Weil Serviees

Amount:
$199,000.00

$232,249.04
390,992.45
$31,043.94

$16,269.00

$429,810.00

$63,899.50

395,329.50

$1,087,481.21
$94,207.50
$16,269.19
$86,760.26
$79,055.45
$7,340.46
$54,562,50
$26,152.64
$63,506.47
380,094.18
$181,081.00

$7,340.46

Date Filed:
June 9, 2014

July 2, 2014

October 31, 2014

June 24, 2014

Juiy 1,2014

September 25, 2014

October 15, 2014

November 3, 2014
November 10, 2014
November 10, 2014
November 14, 2014
November 17, 2014
January 14, 2015
May 26, 2015

7/29/ 15

9/25/ 15

8/ 15

7/29/ 15

1/23/15

 

Midstar Energy, LP
Maverick Field Serviees, LLC

Maveriek Field Services, LLC

TOTAL

341,360.00
$45208,20

$48,417.50

$3,077,430.45

LIEN FILED FOR ADMIN EXPENSE CLAIM
(Services post-petition but before Trustee Appointment)

OSC Energy, LLC

$31,043.94

9/29/15

8/20/15

8/20/15

9/15

